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                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
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                                                                   7   Attorneys for Debtor and Debtor in Possession

                                                                   8                                   UNITED STATES BANKRUPTCY COURT

                                                                   9                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                              LOS ANGELES DIVISION

                                                                  11   In re:                                                        Case No.: 2:19-bk-24804-VZ
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   YUETING JIA,1
                                                                                                                                     Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                       Debtor.
                                           ATTORNEYS AT LAW




                                                                                                                                     DECLARATION OF YUETING JIA IN
                                                                  14                                                                 SUPPORT OF DEBTOR’S OPPOSITION
                                                                                                                                     TO MOTION TO DISMISS DEBTOR’S
                                                                  15                                                                 CHAPTER 11 CASE BY CREDITOR
                                                                                                                                     SHANGHAI LAN CAI ASSET
                                                                  16                                                                 MANAGEMENT CO., LTD.

                                                                  17                                                                 [Relates to Docket Nos. 358 and 359]

                                                                  18
                                                                                                                                    Date:      March 19, 2020
                                                                  19                                                                Time:      9:30 a.m.
                                                                                                                                    Place:     United States Bankruptcy Court
                                                                  20                                                                           255 E. Temple Street
                                                                                                                                               Los Angeles, California 90012
                                                                  21                                                                Courtroom: 1368
                                                                                                                                    Judge:     Hon. Vincent P. Zurzolo
                                                                  22

                                                                  23             I, Yueting Jia, under penalty of perjury, declare as follows:

                                                                  24             1.      I am the debtor and debtor in possession (the “Debtor”), and I filed a voluntary

                                                                  25   petition under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) commencing

                                                                  26   the above-captioned bankruptcy case (the “Chapter 11 Case”) on October 14, 2019 (the “Petition

                                                                  27   Date”).

                                                                  28   1
                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
                                                                       Marguerite Drive, Rancho Palos Verdes, CA 90275.

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                                                                   1              2.       I submit this Declaration (the “Declaration”) in support of the Debtor’s Opposition to

                                                                   2   the Motion to Dismiss Debtor’s Chapter 11 Case by Creditor Shanghai Lan Cai Asset Management

                                                                   3   Co., Ltd. [Docket No. 358] (the “Opposition”).2

                                                                   4              3.       Except as otherwise indicated, all statements in this Declaration are based upon my

                                                                   5   personal knowledge, my review of books and records, relevant documents and other information

                                                                   6   prepared or collected by my employees, advisors and representatives, or my opinion based on my

                                                                   7   experience. In making my statements based on my review of books and records, relevant documents

                                                                   8   and other information prepared or collected by my professionals, advisors and employees, I have

                                                                   9   relied upon these professionals, advisors and employees accurately recording, preparing or collecting

                                                                  10   such documentation and other information. If I were called to testify as a witness in this matter, I

                                                                  11   could and would competently testify to each of the facts set forth herein.
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                                                                  12              4.       I am familiar with the contents of the Opposition and would testify that the facts set
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                                                                  13   forth therein are true and correct to the best of my knowledge.
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                                                                  14              5.       I am not fluent in English. Accordingly, in the ordinary course of my business and

                                                                  15   personal affairs that require me to communicate in English either orally or in writing, I employ

                                                                  16   interpreters/translators who are fluent in both English and Chinese. I am utilizing such

                                                                  17   interpreters/translators in connection with matters that arise in connection with my Chapter 11 Case

                                                                  18   and intend to continue to do so. I have reviewed the Opposition and this Declaration with the

                                                                  19   assistance of such interpreters/translators and can confirm that the factual statements contained

                                                                  20   therein are true and correct to the best of my knowledge.

                                                                  21              6.       I commenced the above Chapter 11 Case by filing a voluntary petition under chapter

                                                                  22   11 of the Bankruptcy Code on the Petition Date in the United States Bankruptcy Court for the

                                                                  23   District of Delaware (the “Delaware Bankruptcy Court”). My case was originally docketed under

                                                                  24   Case No. 19-12220 (KBO). On December 18, 2019, the Delaware Bankruptcy Court entered an

                                                                  25   order transferring venue of this Chapter 11 Case to this Court.

                                                                  26              7.       On October 17, 2019, I filed my schedules and statement of financial affairs (the

                                                                  27   “Schedules”) [Docket No. 28] in which, on Schedule B, Item No. 19, I indicate that I own 100% of

                                                                  28
                                                                       2
                                                                           Unless otherwise noted, capitalized terms used in this Declaration have the same meanings ascribed in the Opposition.

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                                                                   1   West Coast LLC (“WC”). Record ownership in WC is held by a nominee pursuant to a certain WC

                                                                   2   Nominee Agreement (as hereinafter defined). I retain all economic interests in WC.

                                                                   3           8.       Prior to the formation of the FF Global Partnership Program in 2019, I owned 100%

                                                                   4   of the economic interests in Pacific Technology Holding LLC (“PTH”) through a nominee

                                                                   5   agreement. After the formation of the FF Global Partnership Program, FF Global Partners LLC

                                                                   6   owns 100% of the issued and outstanding common units of PTH and 80% of the total equity interest

                                                                   7   in PTH. The remaining 20% interest is owned by WC which holds 90,588,235 preferred units of

                                                                   8   PTH (the “Preferred PT Units”). I own 100% of the economic interests in WC through the WC

                                                                   9   Nominee Agreement.

                                                                  10           9.       On July 31, 2019, I entered into a nomination agreement with WC and Lian Bossert

                                                                  11   (the “WC Nominee Agreement”) pursuant to which Lian Bossert was named as the nominee (the
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                                                                  12   “WC Nominee”).           A true and correct copy of the WC Nominee Agreement is attached hereto as
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                                                                  13   Exhibit “A.” My signature appears at the end of the WC Nominee Agreement. I am familiar with
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                                                                  14   the signature of Lian Bossert who also signed the WC Nominee Agreement.

                                                                  15           10.      In accordance with the terms of the WC Nomination Agreement, the WC Nominee is

                                                                  16   the record owner of the ownership units of WC, WC is the record owner of the Preferred PTH Units

                                                                  17   and I retain all economic interests associated with the equity of WC and PTH as set forth in the

                                                                  18   Limited Liability Company Agreement of West Coast LLC (the “WC LLC Agreement”) and the

                                                                  19   Third Amended and Restated Limited Liability Company Agreement of Pacific Technology Holding

                                                                  20   LLC, as amended by the First Amendment to the Third Amended and Restated Limited Liability

                                                                  21   Company Agreement (the “PTH LLC Agreement”). True and correct copies of the WC LLC

                                                                  22   Agreement and the PTH LLC Agreement are attached hereto as Exhibits “B” and “C,” respectively.

                                                                  23   I am familiar with the WC LLC Agreement and the PTH LLC Agreement and, if called to testify,

                                                                  24   would testify that Exhibits “B” and “C” attached hereto are true and correct copies of these

                                                                  25   agreements. Prior to the formation of WC, the WC Nominee was the record holder of the Preferred

                                                                  26   PTH Units.

                                                                  27           11.      Pursuant to Section 16 of the PTH LLC Agreement, the Preferred PTH Units entitle

                                                                  28   me, through WC, to receive certain distributions of capital from PTH from time to time which


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                                                                   1   consist of (a) a priority distribution of up to $815.7 million, plus interest at 8% per annum, after the

                                                                   2   return of capital to the management (plus 8% interest per annum), plus (b) a special distribution of

                                                                   3   10% of all remaining distributions of capital from PTH, plus (c) a pro rata share (i.e., 20%) of all

                                                                   4   remaining distributions of capital from PTH (collectively, the “PTH Distributions Rights”). Also,

                                                                   5   pursuant to Section 14(c) of the PTH LLC Agreement, I retained the right to direct the transfer of

                                                                   6   147,058,823 Class B ordinary shares of Smart King Ltd. (n/k/a FF Intelligent Mobility Global

                                                                   7   Holdings Ltd.) (“Smart King”), the parent company of Faraday Future (“Faraday” or “FF”), to a

                                                                   8   creditor trust (the “PTH Transfer Rights”).

                                                                   9           12.      Shortly after the Official Committee of Unsecured Creditors (the “Committee”) was

                                                                  10   appointed in my case, I, together with my advisors, began discussing the path to a consensual plan of

                                                                  11   reorganization and the scope of due diligence required by the Committee in order for it to have the
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                                                                  12   necessary frame of reference to consider my proposals to effectuate a restructuring. I facilitated the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Committee’s due diligence process through my Chapter 11 Case by playing a role or advising my
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                                                                  14   professionals to participate in the following:

                                                                  15                    a.          Negotiated the terms of non-disclosure agreements regarding confidential

                                                                  16                                information to be provided by me and FF to permit the smooth flow of

                                                                  17                                information to the Committee.

                                                                  18                    b.          Working with my advisors, I provided the Committee with access to multiple

                                                                  19                                data rooms populated with thousands of pages of documents containing my

                                                                  20                                financial and business information and that of FF and Smart King.

                                                                  21                    c.          On November 22, 2019, I conducted an all-day meeting at Faraday with

                                                                  22                                Faraday’s management, as well as thirteen (13) Committee representatives,

                                                                  23                                creditor representatives and Committee professionals, in order to provide an

                                                                  24                                overview of FF’s business operations and financial condition, and to discuss

                                                                  25                                the Plan.

                                                                  26                    d.          On November 25, 2019, representatives of creditors (nearly all of whom

                                                                  27                                traveled from the People’s Republic of China) visited Faraday’s headquarters

                                                                  28                                for a separate, full day of meetings that included comprehensive presentations


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                                                                   1                                regarding Faraday’s business operations and financial condition and sessions

                                                                   2                                allowing creditors to ask questions and voice concerns regarding the my

                                                                   3                                proposed restructuring. Thirty-five (35) creditor representatives and two (2)

                                                                   4                                representatives of the Committee participated in this meeting.

                                                                   5                    e.          On January 6 and 7, 2020, my advisors and I facilitated the Committee’s

                                                                   6                                investigative interviews of seven witnesses relating to my financial affairs and

                                                                   7                                FF’s business operations.

                                                                   8                    f.          On January 17 and 18, 2020, I participated in a two-day deposition by the

                                                                   9                                Committee and an individual member of the Committee, where I provided

                                                                  10                                additional information regarding issues arising during the course of the

                                                                  11                                Committee’s due diligence over the previous three months. A representative
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                                                                  12                                of the Office of the United States Trustee was present at the January 17, 2020
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                                                                  13                                session.
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                                                                  14                    g.          Throughout the due diligence process, my advisors met with the Committee’s

                                                                  15                                advisors on several occasions to discuss the parallel due diligence and

                                                                  16                                consensual plan formulation processes.

                                                                  17                    h.          On February 6, 2020, the Court entered its Order (I) Requiring Parties to

                                                                  18                                Participate in Mediation; and (II) Setting Further Status Conference [Docket

                                                                  19                                No. 308] (the “Mediation Order”). In accordance with the Mediation Order,

                                                                  20                                that same week, I along with the Committee and other creditors seeking to

                                                                  21                                participate in the mediation (SLC and SQ) attended mediation sessions with

                                                                  22                                the Hon. Mitchel R. Goldberg (ret.). At the conclusion of the mediation

                                                                  23                                sessions, I reached an agreement with the Committee regarding the material

                                                                  24                                terms of the Plan.

                                                                  25                    i.          On February 27, 2020, the material terms of the Negotiated Plan were

                                                                  26                                memorialized in the executed Plan Term Sheet filed with the DIP Motion and,

                                                                  27                                on March 2, 2020, I filed my Second Amended Plan of Reorganization under

                                                                  28                                Chapter 11 of the Bankruptcy Code and accompanying Disclosure Statement.


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                                                                   1           13.      I commenced the Chapter 11 Case with the goal of negotiating a consensual chapter

                                                                   2   11 plan which would be in the best interest of all of my creditors. Through my efforts, with the

                                                                   3   assistance of my advisors and the efforts of the Committee and its professionals, I was able to reach

                                                                   4   an agreement on the material terms of a chapter 11 plan that has now been filed. Each step of the

                                                                   5   way, from the inception of my Chapter 11 Case through to the date hereof, I have proceeded in good

                                                                   6   faith and will continue to do so to accomplish my goal of a successful reorganization.

                                                                   7

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                                        LOS ANGELES, CALIFORNIA




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                                     NOMINEE AGREEMENT

               THIS NOMINEE AGREEMENT (the "Agreement") is made and entered into as
 of July 31, 2019, by and among West Coast LLC, a Delaware limited liability company (the
 "Company"), Jia YueTing ("YT") and Lian Bossert (the "Nominee"). Capitalized terms used
 herein but not defined shall have the respective meanings set forth in the Limited Liability
 Company Agreement of West Coast LLC, dated as of July 31, 2019 (the "LLC Agreement").

                WHEREAS,the Nominee was the recof•d owner of 90,588,235 Preferred Units(the
 "Pacific Units") of Pacific Technology Holding LLC, a Delaware limited liability company
 ("Pacific Technology") and the parties hereto have previously entered into certain agreements in
  connection with the Nominee's ownership ofthe Pacific Units, including a Nomination Agreement,
  Power of Attorney Agreement, Membership Interests Power, and Letter from YT to the Nominee
  regarding such grant of power of attorney from YT to Nominee (collectively, the "Previous
  Nominee Agi•eeuients") desire to record their arratlgements with respect to the Pacific Units;

                 WHEREAS,the Nominee has formed the Company and desires to hold the Pacific
  Units indirectly through the Company;

                WHEREAS, concurrently with the entry of this Agreement, the Nominee will
  assign and contribute all Pacific Units to the Company in exchange for 90,588,235 units in the
  Company, which represents all of the membership interest in the Company (the "Units"); and

               WHEREAS, the parties hereto desire to enter into this Agreement to replace the
  Previous Nominee Agreements.

                 NOW,THEREFORE,the parties hereto agree as follows:

                 SECTION 1. Certain Definitions. In this Agreement:

                (a)     "Control Affiliate" means YT and any person or entity controlling,
  controlled by or under common control with, directly or indirectly, YT.

                 (b) "Employee Affiliate" means any person employed by(or who is the spouse,
  relative or relative of a spouse, in each case residing in the home of a person employed by) a
  Control Affiliate.

                (c)      "Other Affiliate" means any person or entity that has a substantial business
  relationship with a Control Affiliate and which is not itself a Control Affiliate.

                (d)    "Pacific LLC Agreement" means the Third Amended and Restated
  Limited Liability Company Agreement of Pacific Technology dated as of July 5, 201.9.

                (e)      "Securities Act" means the Securities Act of 1933, as amended.

                 (~       "Tj•ansfer" means, with respect to a member of the Company or Pacific
  Technology, to   sell, assign, pledge, encumber, transfer or otherwise dispose of, whether directly
  or indirectly, voluntarily or involuntarily or by operation of law, all or a portion of its, his or her

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 membership interest in the Company or Pacific Technology. The terms "Transfers",
 "Transferred" and "Transferring" shall have correlative meanings.



                (g)    "Unit Equivalent" means at any time any security convertible into,
 exchangeable for, or carrying the right to acquire units or subscriptions, warrants, options, rights
 or other• arrangements obligating the Company to issue or dispose of any units of membership
 interests or any units of any other voting class or series of stock of the .Company, regardless
 whether such security is convertible, exchangeable or exercisable at such time.

               (h)     "YT Affiliate" means with respect to YT any person or entity who is a
 Control Affiliate, Employee Affiliate or Other Affiliate.

                  SECTION 1. Nominee Arrangement Generally. The Nominee shall be the record
 owner of the Units and shall be the holder of all votitlg rights associated with ownership of the
 Units as set forth in the LLC Agreement. The Company shall be the record owner of the Pacific
 Units and shall be the holder of all voting rights associated with ownership ofthe Pacific Units as
 set fot•th in the Pacific LLC Agreement. YT shall retain all economic interests associated with
 ownership of the Units and the Pacific Units as set forth in the LLC Agreement and the Pacific
 LLC Agreement.

                 SECTION 2. Voting Powers. At all times prior to the termination of the nominee
 arrangement   created hereby, the Nominee shall have the exclusive right to vote the Units, or give
 written consent, in person or by proxy, at all meetings of members of the Company, and in all
 proceedings in which the vote or consent, written or otherwise, of the holders of Units may be
 required or authorized by law. The Nominee shall vote all Units in accordance with this Agreement.
 The Nominee shall have full power and authority, and he is hereby empowered and authorized, to
 vote the Units as in his sole judgment he believes to be in the best interest of the members of the
 Company generally, it being understood that the Nominee will exercise his independentjudgment
 in determining the best interests ofthe members ofthe Company,and to do any and all other things
 and take any and all other actions as fully as any Unitholder ofthe Company might do if personally
 present at a meeting of the members of the Company. YT agrees that he will not communicate
 with the Nominee in connection with any proceeding in which the vote or consent of the holders
 of Units may be required or authorized by law or otherwise seek to influence the Nominee in the
 exercise of his right to vote or consent in any such proceedings. YT shall promptly provide to the
 Nominee from time to time such information as is reasonably necessary (including certificates
 and/or other documents) in order to enable the Nominee to carry out the foregoing obligations.

                 SECTION 3. Dividends. If Pacitic Technology pays or issues dividends or makes
 other distributions  on the Pacific Units, the Company shall accept and receive such dividends and
 distributions. If the Company pays or issues dividends or makes other distributions on the Units,
 the Nominee shall accept and receive such dividends and distributions. Upon receipt of dividends
 and distributions, the amount shall be distributed promptly by the Nominee or the Company, as
 the case may be, pursuant to transfer instructiotls set forth on Schedule A attached hereto. In the
 performance of their duties to deliver cash dividends under this Agreement, the Nominee and the
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 Company shall not be obligated to risk their own funds and will not be liable for taxes or other
 charges related to the delivery of such dividends or distributions.

                SECTION 4. Termination. (a) The nominee arrangement created hereby shall
 terminate on the earliest to occur of:

               (i)     ten years from the date hereof; at~d

               (ii)    the written election of YT at any time.

                An election pursuant to Section 4(b) shall be effective upon the third day following
 delivery of notice thereof to the Nominee.

              (b) Upon the termination of this Agreement, the Nominee and the Company shall
 immediately Transfer the Units, Pacific Units or any other voting or beneficial interest in Pacific
 Technology to YT and take all necessary actions to procure that all equity interests in Pacific
 Technology, directly or indirectly held by the Nominee or the Company, be held by YT on the
 book of the Company or Pacific Technology, as the case may be.

                 SECTION 5. Compensation. In consideration of the services provided to YT by
 the Nominee and the Company under this Agreement, YT shall pay or procure the annual payment
 of US $60,000, payable on the last business day of each calendar year to the Nominee; provided
 that the payment for the services in 2019 shall be prorated from the date of this Agreement and if
 terminated earlier than December 31 of a given year, such payment for such given year shall be
 prorated based on the days that the services are provide within such given year. For the avoidance
 of doubt, parties hereto hereby acknowledge and agree that the compensation paid hereunder
 serves as consideration for services provided by the Nominee under this Agreement and shall in
 no event be considered or treated as consideration for the transfer of record ownership ofthe Units
 or the Pacific Units.

                 SECTION 6. Exercise Conversion Exchange or Cancellation of Units or Pacific
 Units. The Nominee and the Company shall, upon written instruction of YT, submit to the
 Company or Pacific Technology, as the case may be, for exercise, conversion, exchange or
 cancellation any Unit or Pacific Unit in which YT has a beneficial interest hereunder. Such notice
 shall state (a) whether such Units or Pacific Units are to be exercised, converted, exchanged or'
 cancelled,(b} the date on which such Units or Pacific Units are to be submitted to the Company
 or Pacific Technology (which date shall not be less than five days after the Nominee or the
 Company's receipt of such notice), (c) the number and type of Units or Pacific Units to be
 submitted to the Company or Pacific Technology and (d)the consideration, if any, to be received
 upon such exercise, cofiversion, exchange or cancellation from the Company or Pacific
 Technology. The notice shall be accompanied by any exercise price or other payment and any
 agreement, certificate or other documentation required in connection with such exercise,
 conversion, exchange or cancellation. On the date specified in such notice, and against receipt
 from the Company or Pacific Technology of the specified consideration, if any, the Nominee or
 the Company shall deliver by first class mail: (x) to the Company or Pacific Technology, any
 exercise price or other payment and any agreement, certificate or other documentation delivered

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 to the Nominee or the Company by YT with such notice and (y) to YT the consideration, if any,
 received by the Nominee pursuant to such exe~•cise, conversion, exchange or cancellation.

                 SECTION 7. Increase or Decrease in Number of Units or Pacific Units. In the
 event of an increase in the number of Units or Pacific Units by virtue of a unit split or the decrease
 in the number of Units or Pacific Units because of a contraction of the units or a change in the
 number of outstanding units of the Company or Pacific Technology as a result of some other
 recapitalization in which the Company or Pacific Technology receives no consideration for the
 issuance of the additional or reduced number of units, the new additional or changed number of
 Units or Pacific Units shall be held by the Nominee or the Company, as the case may be.

               SECTION 8. Successor Nominee. There shall initially be one Nominee created
 hereby. Upon the bankruptcy, suspension, incapacity, resignation or removal (in accordance with
 Section 9 below) of the initial Nominee, YT shall appoint a successor Nominee.

                SECTION 9. Removal/Resignation of Nominee.

               (a)      A Nominee may be removed by YT:

               (i)      if it is determined by a court of competent jurisdiction that either (A)the
         Nominee  or the Company has willfully and materially violated the terms ofthis Agreement,
         or (B) the Nominee has been guilty of malfeasance, misfeasance or dereliction of duty
         hereunder;

                (ii)      if the Nominee or the Company shall have commenced a voluntary case or
         other proceeding seeking liquidation, reorganization or other relief with respect to itself or
         its debts under any bankruptcy, insolvency or other similar law now or hereafter in effect,
         or seeking the appointment of a trustee, receiver, liquidator, custodian or other similar
         official of it or any substantial part of its pro~er•ty, or shall have consented to any such
         relief or to the appointment of or taking possession by any such official in an involuntary
         case or other proceeding commenced against it, or shall have made a general assignment
         for the benefit of creditors, or shall have failed generally to pay its debts as they become
         due, or shall have taken any action to authorize any of the foregoing; or

               (iii) if an involuntary case or other proceeding shall have been commenced
         against the Nominee or the Company seeking liquidation, reorganization or other relief
         with respect to it or its debts under any bankruptcy, insolvency or other similar law now or
         hereafter in effect, or seeking the appointment of a trustee, receiver, liquidator, custodian
         or other similar official of it or any substantial part of its property, and such involuntary
         case or other• proceeding shall have remained undismissed and unstayed for a period of 60
         days, or an order for relief shall have been entered against the Nominee or the Company
         under the federal bankruptcy laws as now or hereafter in effect.

                 (b)     If YT determine that a basis exists for removal of the Nominee under
  Section 9(a) above, he shall deliver written notice of such determination to the Nominee stating
  the basis for such removal.

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                  (c)     The Nominee shall resign his position as such (i) upon ten days' written
 notice to YT but only if a successor Nominee, appointed as provided for in Section 8 above, has
 agreed to serve as such effective upon the effectiveness of the resignation of the Nominee then
 acting, or (ii) in any event upon 2 days' written notice to YT. Upon the removal or resignation of
 the Nominee, the Nominee shall transfer and assign all Units to the successor Nominee or to YT
 according to Y'I''s instruction and shall take all other actions that are necessary to affect such
 transfer• or assignment.

                 SECTION 1 p. Transfer Restrictions; Transfer. The Nominee shall not Transfer the
 Units, and the Company shall not Transfer the Pacific Units to any person without the prior written
 consent of YT. Upon the Transfer of any of the Units or Pacific Units, the proceeds shall be
 distributed promptly by the Nominee or the Company, as the case may be, pursuant to transfer
 instructions set forth on Schedule A attached hereto.

                SECTION 11. Expenses. Reasonable expenses lawfully incurred in the
 administration ofthe Nominee or the Company's duties hereunder shall be reimbursed to it by YT.
 The provisions of this Section 1 L shall survive the termination of this Agreement.

                 SECTION 12. Mer~er, Etc. Upon any merger, consolidation, reorganization or
 dissolution of the Coitipany or Pacific Technology or the sale of all or substantially all ofthe assets
 of the Company or Pacific Technology pursuant to which shares of capital stock or other voting
 securities of another company are to be issued in payment or exchange for or upon conversion of
 Units or Pacific Units and other voting securities, the shares of said other company shall
 automatically be and become subject to the terms of this Agreement and be held by the Nominee
 or the Company hereunder in the same manner and upon the same terms as the Units or Pacific
 Units. At the request of YT,the Nominee and the Company shall transfer, sell or exchange or join
 with YT in such transfer, sale or exchange of Units, Pacific Units and other voting securities in
 exchange for shares or units of another Company, and in said event the shares, units and other
 voting securities of the other• Company received by the transferor shall be and become subject to
 this Agreement and be held by the Nominee or the Company hereunder in the same manner as the
 Units or the Pacific Units.

                 SECTION 13. Notices. All notices, reports, statements and other communications
  directed to the Nominee from the Company or to the Company from Pacific Technology, other
  than communications pertaining to-the voting of'the Units or the Pacific Units, shall be forwarded
  promptly by tl~e Nominee or the Company to YT. All notices, notices of election and other
  communications required hereby shall be given in writing by overnight courier, telegram or
  facsimile transmission and shall be addressed, or sent, to the appropriate addresses as set forth
  beneath the signature of each party hereto, or at such other address as to which notice is given in
  accordance with this Section 13.

                 SECTION 14. Indemnity, Etc.

                  (a)    YT agrees to indemnify the Nominee from and against any and all loss,
  liability, claim, damage and expense whatsoever(including, but not limited to, any and all expense
  whatsoever reasonably incurred in investigating, preparing or defending against any litigation,

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 commenced or threatened, or any claims whatsoever)(the "Indeinuified Claims") arising out of
 or based upon this Agreement or the actions or failures to act of the Nominee hereunder or
 thereunder, except to the exte~it such loss, liability, claim, damage or expense is caused by or
 results froin the Nominee's gross negligence or willful misconduct(as determined by a final and
 unappealable order of a court of competent jurisdiction).

               (b)     The Nominee shall be entitled to the prompt reimbursement for his out-of-
 pocket expenses (including reasonable attorneys' fees and expenses) incurred in investigating,
 preparing or defending against any litigation, commenced or threatened, arising out of or based
 upon this Agreement, or the actions or failures to act of the Nominee hereunder or thereunder,
 without regard to the outcome of such litigation; provided, however, that the Nominee shall be
 obligated to return any such reimbursement if it is subsequently determined by a final and
 unappealable order of a court of competentjurisdiction that the Nominee was grossly negligent or
 engaged in willful misconduct in the matter in question.

                 (c)     In order for the Nominee to be entitled to any indemnification provided for
  under this Section 14 in respect of, arising out of or involving a claim made by any person not a
  party hereto against the Nominee (a "Third Party Claim"), the Nominee must notify YT in
  writing of such 'Third Party Claim (setting forth in reasonable detail the facts giving rise to such
  Third Party Claim (to the extent known by the Nominee)and the amount or estimated amount(to
 the extent reasonably estimable) of losses arising out of such Third Party Claim) promptly after
  receipt by the Nominee of notice of such Third Party Claim. Thereafter, the Nominee shall deliver
  to YT, promptly after the Nominee's receipt thereof, copies of all notices and documents
 (including court papers) received by the Nominee relating to the Third Party Claim.

                 (d)      If a Third Party Claim is made against the Nominee, YT shall be entitled to
  participate in the defense thereof and, if it so chooses, to assume the defense thereof with counsel
  selected by YT. Any such participation or assumption shall not constitute a waiver by any party of
  any attorney-client privilege in connection with such Third Party Claim. If YT assumes the defense
  of a Third Party Claim in accordance with this Section 14, the Nominee shall have the right to
  participate in the defense thereof and to employ counsel(not reasonably objected to by YT), at his
  own expense, separate from the counsel employed by YT,it being understood that YT shall control
  such defense.

                (e)     If YT assumes the defense of a Third Party Claim, YT shall not settle such
  Third Party Claim without the prior written consent of the Nominee (which consent shall not be
  unreasonably withheld, conditioned or delayed), except that YT shall have the right to settle such
  Third Party Claim without the consent of the Nominee if such settlement(i) does not involve any
  admission by the Nominee of any violation of law,(ii) does not involve an injunctive or equitable
  or any other relief against the Nominee other than monetary damages, and (iii) expressly and
  unconditionally releases the Nominee from all liabilities and obligations with respect to such Third
  Party Claim.

                 (~      If YT does not elect to assume the defense of the Third Party Claim, the
  Nominee may assume     the defense of a Third Party Claim;provided that(i) YT shall have the right
  to participate in the defense thereof and to employ counsel (not reasonably objected to by the
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 Nominee), at his own expense, separate from the counsel employed by the Nominee, it being
 understood that the Nominee shall control such defense. If the Nominee assumes the defense of a
 Third Party Claim, the Nominee shall not settle such Third Party Claim without the prior written
 consent of YT(which consent shall not be unreasonably withheld, conditioned or delayed).

             (g)      The provisions of this Section 14 shall survive the termination of this
 Agreement or the removal ofthe Nominee.

                 SECTION 15. Confidentiality.

               (a) The terms and conditions of this Agreement, all exhibits and schedules attached
 hereto and thereto, the transactions contemplated hereby and thereby, including their existence,
 and all information furnished by each party hereto and by representatives of such party to the other
 party hereof or any of the representatives of such party (collectively, the "Confidential
 Information"), shall be considered Confidential Information and shall not be disclosed by any
 party hereto to any third party except in accordance with the provisions set forth below.

                (b) Notwithstanding the foregoing, each party may disclose (i) the Confidential
 Information   to its current accountants, custodian or legal counsels, or its Affiliates and their
 respective employees who need to know such infoi~nation solely for the purpose ofthe transaction
 contemplated in this Agreement, in each case only where such persons or entities are informed of
 the confidential nature of the Confidential Information and are under appropriate nondisclosure
 obligations substantially similar to those set forth in this Section 15, (ii) such Confidential
 Information as is required to be disclosed pursuant to routine examination requests from
 governmental authorities with authority to regulate such party's operations, in each case as such
 party deems appropriate in good faith, and (iii) the Confidential Information to any person to which
 disclosure is approved in writing by the other party. Any party hereto may also provide disclosure
 as required by applicable law, rules, regulations or legal process (including, pursuant to any
 applicable tax, securities, other laws of any jurisdiction or any applicable stock exchange or rules
 or regulations), as set forth in Section 15(c) below.

                (c) Except as set forth in Section 15(b) above, in the event that any party is
 requested or  becomes    legally compelled (including without limitation, pursuant to any applicable
 tax, securities, other laws ofanyjurisdiction, or any applicable stock exchange rules or regulations)
 to disclose the existence of this Agreement or any Confidential Information, such party (the
 "Disclosing Party") shall provide the other party hereto with prompt written notice of that fact
 and shall consult with the other party hereto regarding such disclosure. At the request of any other
 party, the Disclosing Party shall, to the extent reasonably possible and with the cooperation and
 reasonable efforts of the other parties, seek a protective order, confidential treatment or other
 appropriate remedy. In any event, the Disclosing Parry shall furnish only that portion of the
 information that is legally required and shall exercise reasonable efforts to obtain reliable
 assurance that confidential treatment will be accorded such information.

                (d) Notwithstanding any other provision of this Section 15, the confidentiality
  obligations of the parties shall not apply to: (i) information which a restricted party learns from a
  third party which the receiving party reasonably believes to have the right to make the disclosure,

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 provided that the restricted party complies with any restrictions imposed by the third party; (ii)
 information which is rightfully in the restricted party's possession prior to the time of disclosure
 by the protected party and not acquired by the restricted party under a confidentiality obligation;
 or (iii) information which enters the public domain without breach of confidentiality by the
 restricted party.

                 SECTION 16. Reversion to YT. As security for the faithful performance of this
 Agreement, the Nominee and the Company agree, immediately upon receipt of the fully executed
 version of this Agreement, to deliver to YT:(i) ati Assignment and Admission Agreement in the
 form of Exhibit A attached to this Agreement, executed by the Nominee and by the Nominee's
 spouse, if any, or the Company(with the date and number of units left blank)(the "Assignment"),
 and (ii) a power of attorney in the form of Exhibit B hereto granting YT the authority to date and
 fill in the blanks of the Assignment upon termination of this Agreement pursuant to the terms
 hereof. Upon the complete execution of the Assignment by either the Nominee or by YT on the
 Nominee or the Company's behalf pursuant to this Section 16, ownership of the Units or Pacific
 Units shall fully revert to YT and, for the avoidance of doubt, the Nominee shall no longer hold
 any rights with respect to the Units or Pacific Units.

                SECTION 17. Counterparts. This Agreement may be executed in multiple
 counterparts all of which counterparts together shall constitute one agreement.

                SECTION 18. Choice of Law. This Agreement is intended by the parties to be
  governed and construed in accordance with the laws of the State of Delaware.

                 SECTION 19. Bond. The Nominee shall not be required to provide any bond to
  secure the performance of his duties hereunder.

                 SECTION 20. Reliance. The Nominee and the Company acknowledge that YT
  will rely on the Nominee and the Company abiding by the terms of this Agreement, including,
  without limitation, that(x)the Nominee and the Company will exercise independentjudgment in
  voting the Units or Pacific Technology and will not consult with any YT Affiliate regarding the
  voting of such Units or Pacific Units and (y) the Nominee and the Company will not consent to
  any amendment or waiver of this Agreement prohibited by Section 21 hereof whether or not such
  amendment or waiver is approved by each of the parties hereto.

                 SECTION 21. Amendments and Waivers. This Agreement may not be amended
  or waived in any material respect, unless an independent, nationally recognized counsel, who are
  experts in matters involving the federal securities law, provides to YT an opinion (which opinion
  and counsel shall be satisfactory to YT)that, immediately after such amendment or waiver, YT
  should not be an "affiliate" of the Company or Pacific Technology within the meaning ofRule 144
  under the Securities Act.

                   SECTION 22. Benefits and Assignment. Nothing in this Agreement, expressed or
  implied, shall give or be construed to give any persons, firm or Company, other than the panties
  hereto and their successors and assigns, any legal claim under any covenant, condition or provision
  hereof, all the covenants, conditions and provisions contained in this Agreement being for the sole
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 benefit ofthe parties hereto and their successors and assigns. No party may assign any of its rights
 or obligations under this Agreement without the written consent of all the other parties, which
 consent may not be unreasonably withheld.

                SECTION 23. Termination of the Previous Nominee Agreements. Upon complete
 execution of this Agreement by the parties hereto, the Previous Nominee Agreements shall each
 respectively be terminated immediately, and each of YT and the Nominee shall be fully released
 from such party's obligations to the other under each such Previous Nominee Agreements.

                 SECTION 24. Severability. In case any provision in this Agreement shall be
 invalid, illegal or unenforceable, the validity, legality and enforceability of the remaining
 provisions shall not in any way be affected or impaired thereby.

         1.    No Partnership. The Nominee and his or her agents and employees will
  perform their duties and obligations under this Agreement as independent contractors.
  Nothing contained in this Agreement will be construed as creating an employment, agency,
  partnership,joint owner, or joint venture relationship between the parties.



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                   EXECUTED as of the date ai d year first above written.

                                           LYAN BOSSERT
                                           as Nominee
                                           By:    j



    WrST CAST LLC


    By:
    Name: Jin Jin
    Title: President and Secretary


    JIr~ YUETING



    ~y:




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                     EXECUTED as of tl~e date and year first move written.

                                               I~IAN BO~SERT
                                               as N~rninee


                                               I3y:

      WES'i' COAST LILC



      Natne: Jin Jin
      Title: President and Secreta3~y


      JIA, YIIETING




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               EXECUTED as of the date and year first above written.

                                        LIAN BOSSEI2T
                                        as Nominee


                                         C

  WEST COAST LLC


 By:
 Name: Jin Jin
 Title: President and Secretary


  JIB YUETING



  By:




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                                       SCHEDULE A

                               TRANSFER INSTRUCTIONS

  All payments shall be made by check mailed to 91 Marguerite, Rancho Palos Verdes, CA90275.




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                      ASSIGNMENT AND ~DIYIISSION AGR~~MENT




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                       ASSIGNR~iENT AND ADMISSION AGREEMENT

         This Assignment and Admission Agreement, dated as of              , 20_ (this
 "Agreement"), is entered into by and between Lian Bossert ("Assignor") and Jia YueTing
 ("Assigizee").

                                          BACKGROUND

 A.     West Coast LLC(the "Compa~iy")has been formed as a limited liability company under the
        Delaware Limited Liability Company Act(6 De1.C. § 18-101., et seq.)(the "Act") and is
        governed by the Act and the Limited Liability Company Agreement ofthe Company,dated
        as of July 31, 2019, as amended from tithe to time (the "LLC Agreement").

 B.     The Assignor is a member ofthe Company and, immediately prior to the execution of this
        Agreement, holds 90,588,235 units, which represents 100°/a ofthe membership interest in the
        Company (the "Units").

  C.    The Assignor desires to assign,transfer and convey his interest in the Units(collectively, his
        "Interests")to the Assignee, atld the Assignees desires to acquire the Interests, in the manner
        as set forth herein.

 D.     Pursuant to transfer of the Interests, Assignee desires to be admitted to the Company as a
        member ofthe Company, and the undersigned desires to continue the Company as set forth
        herein.

         NOW, THEREFORE, the undersigned, in consideration of the premises, covenants and
  agreements contained herein, does hereby agree as follows:

        Assi n~ ment. For value received, the receipt and sufficiency of which are hereby
        acknowledged, upon the execution ofthis Agreement by the parties hereto,the Assignor does
        hereby assign, transfer and convey his Interests to the Assignee,such that Assignee shall hold
        100% of the membership interests in the Company after such transfer or assignment.

  2.    Admission. Effective contemporaneously with the assignment described in Section 1 ofthis
        Agreement, Assignee shall be admitted to the Company as a member of the Company and
        hereby agrees to be bound by all the terms and conditions of the LLC Agreement.

  3.    Continuation ofthe Company. The parties hereto agree that the assignment ofthe Interests
        and the admission of the Assignee as a member of the Company shall not dissolve the
        Company.

  4.    Cooperation. Assignee agrees to be bound by all ofthe provisions ofthe LLC Agreement to
        the same extent as though the Assignee had executed the LLC Agreement. Each of the
        parties hereto agrees to cooperate at all tunes from and after the date hereof with respect to
        all of the matters described herein, and to execute such further assignments, releases,
        assumptions, amendments ofthe LLC Agreement, notifications and other documents as may


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        be reasonably requested for the purpose ofgiving effect to, or evidencing or giving notice of,
        the transactions contemplated by this Agreement.

        Miscellaneous; Governing Law. This Agreement shall be binding upon, and shall inure to
        the benefit of, tl~e parties heeeto and their respective successors and assigns. This Agreement
        inay be executed in counterparts and delivered via fax, email or scanned copies, each of
        which shall be deemed an original, but all of which shall constitute one and the same
        instrument. This Agreement shall be governed by, and interpreted in accordance with, the
        laws of the State of Delaware, all rights and remedies being governed by such laws.

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        IN V4~ITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
 executed as of the day and year first above written.

                                              ASSIGNOR:

                                        LIAN BOSSERT




                                               ASSIGNEE:

                                        JIA YUETING




                                        C




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                      ASSIGNMENT AND ADiVIISSION AGREEMENT

       This Assignment and Admission Agreement, dated as of             _,20        (this
 "Agreement"), is entered into by and between West Coast LLC, a Delaware limited liability
 company ("Assignor") and Jia YueTing ("Assignee"}.

                                          BACKGROUND

 A.    Pacific Technology Holding LLC (the "Company") has been formed as a lirliited liability
        company under the Delaware Limited Liability Company Act(6 DeI.C. § 18-101, et seq.)
       (the "Act") and is governed by the Act and the Third Amended and Restated Limited
        Liability Company Agreement ofthe Company, dated as of July 5,2019, as amended from
        time to time (the "LLC Agreement').

 B.     The Assignor is a member ofthe Company and, immediately prior to the execution of this
        Agreement, holds 90,588,235 preferred units in the Company (the "Units").

 C.     The Assignor desires to assign,transfer and convey his interest in the Units(collectively, his
        "Interests")to the Assignee,and the Assignees desires to acquire the Interests, in the manner
        as set forth herein.

 D.     Pursuant to transfer of the Interests, Assignee desires to be admitted to the Company as a
        member ofthe Company, and the undersigned desires to continue the Company as set forth
        herein.

         NOW, THEREFORE, the undersigned, in consideration of the preYnises, covenants and
  agreements contained herein, does hereby agree as follows:

  1.    Assi~nment. For value received, the receipt and sufficiency of which are hereby
        acknowledged, upon the execution ofthis Agreement by the parties hereto,the Assignor does
        hereby assign, transfer and convey all of the Units to the Assignee.

 2.     Admission. Effective contemporaneously with the assignment described in Section 1 ofthis
        Agreement, Assignee shall be admitted to the Company as a member of the Company and
        hereby agrees to be bound by all the terms and conditions of the LLC Agreement.

  3.    Continuation ofthe Conipanv. The parties hereto agree that the assignment ofthe Interests
        and the admission of the Assignee as a member of the Company shall not dissolve the
        Company.

  4.    Cooperation. Assignee agrees to be bound. by all ofthe provisiotls ofthe LLC Agreement to
        the same extent as though the Assignee had executed the LLC Agreement. Each of the
        parties hereto agrees to cooperate at all times from and after the date hereof with respect to
        all of the matters described herein, and to execute such further assignments, releases,
        assumptions,amendments ofthe LLC Agreement, notifications and other documents as may

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        be reasonably requested for the purpose of giving effect to, or evidencing or giving notice of,
        the transactions contemplated by this Agreement.

        Miscellaneous; Governing Law. This Agreement shall be binding upon, and shall inure to
        the benefit of,the parties hereto and their respective successors and assigns. This Agreement
        may be executed in counterparts and delivered via fax, email or scanned copies, each of
        which shall be deemed an original, but all of which shall constitute one and the same
        instrument. This Agreement shall be governed by, and interpreted in accordance with, the
        laws of the State of Delaware, all rights acid remedies being governed by such laws.

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           IN WITNESS WHEREOF,the parties hereto have caused this Agreement to be duly
    executed as ofthe day and year first above written.

                                                       ASSIGNOR:

                                               WEST' COAST I.~LC


                                               By:




                                                       ASSIGNEE:

                                               JIA YUETING


                                               By:




                           [Signature Page to Ir2strarment of Transfer]
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                                            EXHIBIT B

                                    POWER OF ATTORNEY


         The undersigned, by way of security and in order more fully to secure the performance of
 its obligations under the Nominee Agreement between the undersigned, West Coast LLC, a
 Delaware lii~nited liability company ("West Coast") and Jia Yueting("YT") dated as of July 31,
 2019 (the "Nominee Agreement") hereby irrevocably appoints YT to be its attorney:

 (a)      to execute and complete in favour of YT the Assignment and Admission Agreement
  between the undersigned and YT pursuant to which the undersigned shall assign and transfer all
  the units and membership interests in West Coast to YT (the "Assignment");

 (b)     to sign, execute, seal and deliver and otherwise perfect and do any such legal assignments
  and other assurances, charges, authorities and documents to complete the transactions
  contemplated by the Assignment and other documents or acts which may 6e required for the full
  exercise of all or any ofthe powers conferred or which may be deemed proper on or in connection
  with any of the purposes aforesaid.

         The power hereby conferred is irrevocable and shall be a general power of attorney and the
  undersigned hereby ratifies and confirms and agrees to ratify and confirm any instrument, act or
  thing which any such attorney tnay execute or do. In relation to the power referred to herein, the
  exercise by YT of such power shall be conclusive evidence of its right to exercise the same.

                 EXECUTED by the undersigned as of July 31, 2019.


                                          LIEN BOSSERT




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                                    POWER OF ATTORNEY


         The undersigned, by way of security and in order more fully to secure the performance of
 its obligations under the Nominee Agreement between the undersigned, Lian Bossert and Jia
 Yueting ("YT") dated as of July 3l , 2019 (the "Nominee Agreement") hereby irrevocably
 appoints YT to be its attorney:

 (a)      to execute and complete in favour of YT the Assignment and Admission Agreement
  between the undersigned and YT pursuant to which the undersigned shall assign and transfer all
  the units and membership interests in Pacific Technology Holding LLC, a Delaware limited
  liability company ("Pacific Technology") to YT (the "Assignment");

 (b)     to sign, execute, seal and deliver and otherwise perfect and do any such legal assignments
  and other assurances, charges, authorities and documents to complete the transactions
  contemplated by the Assignment and other documents or acts which may be required for the full
  exercise of all or any ofthe powers conferred or which may be deemed proper on or in connection
  with any of the purposes aforesaid.

         The power hereby conferred is irrevocable and shall be a general power of attorney and the
  undersigned hereby ratifies and confirms and agrees to ratify and confirm any instrument, act or
  thing which any such attorney znay execute or do. In relation to the power referred to herein, the
  exercise by YT of such power shall be conclusive evidence of its right to exercise the same.

                 EXECUTED by the undersigned as of July 31, 2019.


                                          NEST COAST LLC




                                               Name: Jin Jin
                                               Title: President and Secretary




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                          LIMITED LIABILITY COMPANY AGREEMENT
                                            OF
                                     WEST COAST LLC

         This LIMITED LIABILITY COMPANY AGREEMENT (this "Agreement') of West
  Coast LLC (the "Company") is entered into and shall be effective as of July 31, 2019, by Lian
  Bossert(the "Member"}.

         The Member desires to form a limited liability company pursuant to the laws of the State
  of Delaware. Accordingly, the Member agrees as follows:

          Formation. The Member has formed a limited liability company pursuant to the provisions
          ofthe Delaware Limited Liability Company Act(as amended from time to time,the "Act")
          and subject to the terms, provisions and conditions set forth in this Agreement.

  2.      Filing. The organization of the Company was initially effective upon the filing of the
          Company's Certificate of Formation with the Delaware Secretary of State on
          July 23, 2019.

  3.      Name. The name ofthe Company shall be "West Coast LLC."

  4.      Term. The term of the Company shall continue until the occurrence of an event specified
          in Section 15 and the subsequent winding up and dissolution ofthe Company in accordance
          with this Agreement and the Act.

          Purpose. The purpose of the Company is to engage in any lawful activity for which a
          limited liability company may be organized under the Act.

  6.      Members and .Units.

                     A)   Units Generally. The membership interests of the Member will be
                          represented by issued and outstanding Units, which maybe divided into one
                          or more types, class or series as determined by the Member.Each type, class
                          or series of Units will have the privileges, preference, duties, liabilities,
                          obligations and rights, including voting rights, if any, set forth in this
                          Agreement with respect to such type, class or series. As of the date hereof,
                          the Company is authorized to issue two classes of Units, designated as
                          "Common Units" and "Preferred Units." The Company will maintain a
                          schedule, attached hereto as Exhibit A hereto ("NiembeY~s SchecluIe"), of
                          all members,their respective mailing addresses and the amount and series of
                          Units held by them, acid will update the Members Schedule upon the
                          issuance or transfer to any new or existing member. As of the date hereof,
                          all Preferred Units are held by the Member. The Members Schedule will be
                          kept confidential but will be available for review at the Company to all
                          holders of Units.

                     B)    Issuance of Units. Upon the affirmative approval of the Member, the
                           Company shall be authorized to issue up to 90,588,235 Units. One or more


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                          additional members of the Company may be admitted to the Company
                          with the consent of the Member. Such persons will be admitted to the
                          Company upon their execution of this Agc•eement, a written undertaking
                          substantially in the form of the Joinder Agreement as set forth on Exhibit B
                          hereto, or an amendment hereto.

 7.       Certificates of Membership Interest. Membership interests in the Company shall not be
          represented by a certificate.

          Capital Contributions. The Member has made the initial capital contribution set forth on
          the Nlernbers ~cheaule. Nu irilere5t shall accrue an airy capital cailtribution and the
          Member shall not have the right to withdraw or be repaid any capital contribution except
          as provided in this Agreement. Additional capital contributions, if any, shall be made by
          the Member in the amount and upon the terms and conditions as the Member may
          determine.

 9.       Capital Accounts. A Capital Account shall be maintained for the Member in accordance
          with the provisions of Section 1.704-1(b)(2)(iv) of the Treasury Regulations.

  10.     Allocations.

                     A)   Profits and Losses. The profits and losses (and items thereof of the
                          Company shall be allocated in accordance with the Member's Percentage
                          Interest.

                     B)   Tax Allocations. Except as otherwise provided in this Section 10. B), al]
                          items of income, gain, loss or deduction for federal, state and local income
                          tax purposes will be allocated in the same manner as the corresponding
                          "book" items are allocated under Section 10. A). In accordance with
                          Section 704(c) of the Internal Revenue Code of 1986, as amended, and the
                          Treasury Regulations issued with respect thereto, income, gain, loss and
                          deduction with respect to any property contributed to the capital of the
                          Company, or after Company assets has been revalued under Regulation
                          Section 1.704-1(b)(2)(iv), shall, solely for tax purposes, be allocated to the
                          Member so as to take into account any variation between the adjusted basis
                          of such property to the Company for federal income tax purposes and its
                          book basis using any reasonable method permitted under the regulations
                          that is selected by the Member.

  1 1.    Distributions. Each distribution to the Member of cash or other assets ofthe Company shall
          be made in accordance with its Percentage Interest in such amounts and at such tunes as
          shall be determined by the Member.

  12.     Mana gement. The Company will be member-managed, and the business and affairs of the
          Company will be managed by or under the direction of, and the right and power to act for
          or to bind the Company will be vested exclusively in, the Member, provided that the
          Member may appoint, employ or otherwise contract with any persons (including but not
          limited to officers of the Company)for the transaction of the business of the Company or
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          the performance ofservices for or on behalfofthe Company,and the Member inay delegate
          to any such persons such authority to act on behalf of the Company as the Member may
          from time to time deem appropriate.

  13.     Bank Accounts. Without limiting the generality of Section 12, the Member (or any
          officer• or authorized signatory so authorized by the Member) shall be authorized to
          endorse checks, drafts or other evidences of indebtedness made payable to the order of
          the Company, but only for the purpose of depositing the same into a Company account.
          The Member (or any officer or authorized signatory so authorized by the Member) shall
          be authorized to sign on behalf of the Company all checks drawn on the Company
          account.

  14.     Tax Treatment. The Company shall elect to be classified as a disregarded entity for federal,
          state and local income tax purposes.

  15.     Limited Liability. Except as otherwise provided by the Act, no Member, manager, nor any
          officer, employee or other agent of the Company will be personally liable for any debt,
          obligation, or liability of the Company, whether that liability or obligation arises in
          contract, tort, or otherwise, solely by reason of being a Member, manager or an officer,
          employee or other agent of the Company. No Member, manager, officer, employee or
          other agent of the Company shall owe any fiduciary duties or obligations to the Company.

  16.     Exculpation and Indemnification. To the fullest extent permitted by law, the Company will
          indemnify, defend, protect and hold harmless the Member and each officer, employee
          or other agent of the Company who was or is a party or is threatened to be made a
          party to any threatened, pending, or completed action, suit or proceeding, whether civil,
          criminal, administrative, or investigative, by reason of any act or omission or alleged
          act or omission arising out of such person's activities as a Member, officer, employee
          or other agent or otherwise on behalf of the Company if such activities were performed
          in good faith either on behalf of the Company or in fut•therance of the interests of the
          Company, acid were performed or omitted in a manner reasonably believed by such person
          to be within the scope of the authority conferred by this Agreement, against losses,
          damages or expenses for which such person has not otherwise been reimbursed
         (including, without limitation, attorneys' and accountants' fees and expenses, judgment
          fines and amounts paid in settlement), actually and reasonably incurred by such person in
          connection wit1~ such action, suit or proceeding, so long as such person was not guilty of
          gross negligence or willful misconduct with respect to such act or omission.

  17.     Dissolution. The Company shall be wound up and dissolved upon the first to occur of
          the following:

                     A)   the written election by the Member to dissolve the Company; or

                     B)   the entry of a decree ofjudicial dissolution pursuant to the Act or
                          dissolution otherwise being required under the Act.

          Upon the occurrence of one of the foregoing, the Member shall proceed to wind up the
          affairs of the Company and liquidate its property and assets.
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  18.     Registered Ate. The registered agent for• service of process on the Company in the
          State of Delaware shall be The Corporation Trust Company, with its address at
          1209 Orange Street, Wilmington, DE 19801, or any successor as appointed by the Member
          by filing an amendment to the Company's Certificate of Formation.

  19.     Amendments. This Agreement may be amended only by written instrument executed by
          the Member.

 20.      Governing Law; Jurisdiction. This Agreement and the rights of the parties hereunder
          shall be governed by and interpreted in accordance with the laws ofthe State of Delaware.

 21.      Successors and Assigns. This Agreement shall be binding upon and inure to the benefit
          of the Member and its successors and assigns.

                           [Remainder ofPage Intentionally Left Blank]




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                    IIV'4VTTNESS ~HEKE~F,tt~e undersigned has executed this Agreement as of
    the date first above written.

                                               ,_„_~~~               f1~        -
                                               ~s~~                        l~
                                             Liait B




                             [Si~trcrtirr~e Page to LLGtlgf~c~etfrertt]
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                                           EXHIBIT A

                                   MEiYIBERS SCHEDULE

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                       ~4ember                                                 Units        Interest
                                 __.   _           _
        Lian Bossert
                                              $444,738,412,
                                              represented by
                                              90,588,235 Preferred
                                              Units ofl'acific
                                              Technology Holding
                                              LLC, a Delaware limited
                                              liability company
                                             ("Pacific Technology"),
                                              which represents twenty
                                              percent(20%)of the
                                              issued and outstanding
                                              equity interests in Pacific
                                              Technology

                                             7f X ~C




                                              A-

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                                             EXHIBIT B

                               FORM OF JOINllER AGK~:L+'MENT

        R~f~:~::~~ is l:~r~~y ~::a~e tc +hP r;mites? ?;~h;lity company ~.br~~mPr~t, ~tate~ as of
 July 31, 2019, as amended from time to time (the "LLC Agreement"), among the Members
 named in the LLC Agreement and West Coast LLC, a Delaware limited liability company (the
 "Company"). Pursuant to and in accordance with Section 6 of the LLC Agreement, the
 undersigned laec•eby acknowledges that it has received and reviewed a complete copy of the LLC
 Agreement and agrees that, upon ex~c~ati~n of this Joinder Agreement, such Person or entity shall
 become a party to the LLC Agreement a►ld shall be fully bound by, and subject to, all of the
 representations, warranties, covenants, terms and conditions of the LLC Agreement as though an
 original party thereto and shall be deemed, and is hereby admitted as, a Member for all purposes
 thereof and entitled to all the rights incidental thereto, and shall have the status of a holder of the
 number of limited liability company membership interest set forth on the signature line below.

         Capitalized terms used herein without definition shall have the meanings ascribed thereto
 in the LLC Agreeinetlt.

         IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of
               20


                                                      [NEW MEMBER]


                                                      By
                                                        Narne:
                                                        Title:
                                                                  membership interest



  ACCEPTED AND ACKNOWLEDGED as of the date above written:

  WEST COAST LLC

 :
 I
      Name: tin Jin
      Title:




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                                     NOMINEE AGREEMENT

               THIS NOMINEE AGREEMENT (the "Agreement") is made and entered into as
 of July 31, 2019, by and among West Coast LLC, a Delaware limited liability company (the
 "Coxt~nany"l; Jia Yuerling ("YT"1 and Lian Bossert (the "Nominee"). Capitalized terms used
 herein but not defined shall have the respective meanings set forth in the Limited Liability
 Company. Agreement of West Coast LLC, dated as of July 31, 2019 (the "LLC Agreement").

                WHEREAS,the Nominee was the record owner of 90,588,235 Preferred Units(the
 "Paei~e Units") of Pacific Technology Holding LLC, a Delaware limited liability company
 ("Pacific Technology") and the parties hereto have previously entered into certain agreements in
  connection with the Nominee's ownership ofthe Pacific Units, including a Nomination Agreement,
  Power of AttorYiey Agreement, Membership Interests Power, and Letter from YT to the Nominee
  regarding such grant of power of attorney from YT to Nominee (collectively, the "Previous
  Nominee Agreements") desire to record their arrangements with respect to the Pacific Units;

                 WHEREAS,the Nominee has formed the Company and desires to hold the Pacific
  Units indirectly through the Company;

                 WHEREAS, concurrently with the entry of this Agreement, the Nominee will
  assign and contribute all Pacific Units to the Company in exchange for 90,588,235 units in the
  Company, which represents all of the membership interest in the Company (the "Units"); and

               WHEREAS, the parties hereto desire to enter into this Agreement to replace the
  Previous Nominee Agreements.

                 NOW,T~IEREFORE,the panties hereto agree as follows:

                 SECTION 1. Certain Definitions. In this Agreement:

                (a)     "Control Affiliate" means YT and any person or entity controlling,
  controlled by or under common control with, directly or indirectly, YT.

                 (b) "Employee Affiliate" means any person employed by(or who is the spouse,
  relative or relative of a spouse, in each case residing in the home of a person employed by) a
  Control Affiliate.

                (c)      "Other Affiliate" means any person or entity that has a substantial business
  relationship with a Control Affiliate and which is not itself a Control Affiliate.

                (d)    "Pacific LLC Agreement" means the Third Amended and Restated
  Limited Liability Company Agreement ofPacific Technology dated as of July 5, 2019.

                (e)      "Securities AcY' means the Securities Act of 1933, as amended.

                 (~      "Transfer" means, with respect to a member of the Company or Pacific
  Technology, to sell, assign, pledge, encumber, teansfer or otherwise dispose of, whether directly
  or indirectly, voluntarily or involuntarily or by operation of law, all or a portion of its, his or her

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 membership interest in the Company or Pacific Technology. The terms "Transfers",
 "Transferred" and "Transferring" shall have correlative meanings.



               (g)      "Unit equivalent" means at any time any security convertible into,
 exchangeable  for, or carrying the right to acquire units or subscriptions, warrants, options, rights
 or other arrangements obligating the Company to issue or dispose of any units of membership
 interests or any units of any other voting class or series of stock of the Company, regardless
 whether such security is convertible, exchangeable or exercisable at such time.

               (h)     "YT Affiliate" means with respect to YT any person or entity who is a
 Control Affiliate, Employee Affiliate or Other Affiliate.

                 SECTION 1. Nominee Arrangement Generally. The Nominee shall be the record
 owner of the Units and shall be the holder of all voting rights associated with ownership of the
 Units as set forth in the LLC Agreement. The Company shall be the record owner of the Pacific
 Units and shall be the holder of all voting rights associated with ownership of the Pacific Units as
 set forth in the Pacific LLC Agreement. YT shall retain all economic interests associated with
 ownership of the Units and the Pacific Units as set forth in the LLC Agreement and the Pacific
 LLC Agreement.

                  SECTION 2. Voting Powers. At all times prior to the termination of the nominee
  arrangement created hereby, the Nominee shall have the exclusive right to vote the Units, or give
  written. consent, in person or by proxy, at all meetings of members of the Company, and in all
  proceedings in which the vote or consent, written or otherwise, of the holders of Units may be
  required or authorized by law. The Nominee shall. vote all Units in accordance with this Agreement.
  The Nominee shall have full power and authority, and he is hereby empowered and authorized, to
  vote the Units as in his sole judgment he believes to be in the best interest of the members ofthe
  Company generally, it being understood that the Nominee will exercise his independentjudgment
  in determining the best interests ofthe members ofthe Company,and to do any and all other things
  and take any and all other actions as fully as any Unitholder ofthe Company might do if personally
  present at a meeting of the members of the Company. YT agrees that he will not communicate
  with the Nominee in connection with any proceeding in which the vote or consent of the holders
  of Units may be required or authorized by law or otherwise seek to influence the Nominee in the
  exercise of his right to vote or consent in any such proceedings. YT shall promptly provide to the
  Nominee from time to time such information as is reasonably necessary (including certificates
  and/or other• documents) in order to enable the Nominee to carry out the foregoing obligations.

                  SECTION 3. Dividends. If Pacific Technology pays or issues dividends or makes
  other distributions on the Pacific Units, the Company shall accept and receive such dividends and
  distributions. If the Company pays or issues dividends or makes other distributions on the Units,
  the Nominee shall accept and receive such dividends and distributions. Upon receipt of dividends
  and distributions, the amount shall be distributed promptly by the Nominee or the Company, as
  the case may be, pursuant to transfer instructions set forth on Schedule A attached hereto. In the
  performance of their duties to deliver cash dividends under this Agreement, the Nominee and the

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 Company shall not be obligated to risk their own funds and will not be liable for taxes or other
 charges related to the delivery of such dividends or distributions.

                SECTION 4. Termination. (a) The nominee arrangement created hereby shall
 terminate on the earliest to occur of:

               (i)      ten years from the date hereof; and

               (ii)     the written election of YT at any time.

                An election pursuanC to Section 4(b) shall be elfec~ive upon the thud day following
 delivery of notice thereof to the Nominee.

              (b) Upon the termination of this Agreement, the Nominee and the Company shall
 immediately Transfer the Units, Pacific Units or any other voting or beneficial interest in Pacific
 Technology to YT and take all necessary actions to procure that all equity interests in Pacific
 Technology, directly or indirectly held by the Nominee or the Company, be held by YT on the
 book of the Company or Pacific Technology, as the case may be.

                 SECTION 5. Compensation. In consideration of the services provided to YT by
 the Nominee and the Company under this Agreement, YT shall pay or procure the annual payment
 of US $60,000, payable on the last business day of each calendar year to the Nominee; provided
 that the payment for the services in 2019 shalt be prorated from the date of this Agreement and if
 te~•minated earlier than December 31 of a given year, such payment for such given year shall be
 prorated based on the days that the services are provide within such given year. For the avoidance
 of doubt, parties hereto hereby acknowledge and agree that the compensation paid hereunder
 serves as consideration for services provided by the Nominee under this Agreement and shall in
 no event be considered or treated as consideration for the transfer of record ownership ofthe Units
 or the Pacific Units.

                  SECTION 6. Exercise Conversion Exchange or Cancellation of Units or Pacific
  Units.  The  Nominee   and the Company shall, upon written instruction of YT, submit to the
  Company or Pacific Technology, as the case may be, for exercise, conversion, exchange or
  cancellation any Unit or Pacific Unit in which YT has a beneficial interest hereunder. Such notice
  shall state (a) whether such Units or Pacific Units are to be exercised, converted, exchanged or
  cancelled,(b} the date on which such Units or Pacific Units are to be submitted to the Company
  or Pacific Technology (which date shall not be less than five days after the Nominee or the
  Company's receipt of such notice), (c) the number and type of Units or Pacific Units to be
  submitted to the Company or Pacific Technology and (d)the consideration, if any, to be received
  upon such exercise,. conversion, exchange or cancellation from the Company or Pacific
  Technology. The notice shall be accompanied by any exercise price or other payment and any
  agreement, certificate or other documentation required in connection with such exercise,
  conversion, exchange or cancellation. On the date specified in such notice, and against receipt
  from the Company or Pacific Technology of the specified consideration, if any, the Nominee or
  the Company shall deliver by first class mail: (x) to the Company or Pacific Technology, any
  exercise price or other payment and any agreement, certificate or other documentation delivered

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 to the Nominee or the Company by YT with such notice and (y) to YT the consideration, if any,
 received by the Nominee pursuant to such exercise, conversion, exchange or cancellation.

                SECTION 7. Increase or Decrease in Number of Units or Pacific Units. In the
 event of an increase in the number of Units or Pacific Units by virtue of a unit split or the decrease
 in the number of Units or Pacific Units because of a contraction of the units or a change in the
 number of outstanding units of the Company or Pacific Technology as a result of some other
 recapitalization in which the Company or Pacific Technology receives no consideration for the
 issuance of the additional or reduced number of units, the new additional or changed number of
 Units or Pacific Units shall be held by the Nominee or the Company, as the case may be.

               SECTION 8. Successor Nominee. There shall initially be one Nominee created
 hereby. Upon the bankruptcy, suspensiotl, incapacity, resignation or removal (in accordance with
 Section 9 below) of the initial Nominee, YT shall appoint a successor Nominee.

                SECTION 9. Removal/Resignation of Nominee.

               (a)      A Nominee may be removed by YT:

               (i)     if it is determined by a court of competent jurisdiction that either (A) the
         Nominee or the Company has willfully and materially violated the terms ofthis Agreement,
         or (B) the Nominee has been guilty of malfeasance, misfeasance or dereliction of duty
         hereunder;

                (ii)      if the Nominee or the Company shall have commenced a voluntary case or
         other proceeding seeking liquidation, reorganization or other relief with respect to itself or
         its debts under any bankruptcy, insolvency or other similar law now or hereafter in effect,
         or seeking the appointment of a trustee, receiver, liquidator, custodian or other similar
         official of it or any substantial part of its property, or shall have consented to any such
         relief or to the appointment of or taking possession by any such official in an involuntary
         case or other proceedilig commenced against it, or shall have made a general assignment
         for the benefit of creditors, or shall have failed generally to pay its debts as they become
         due, or shall have taken any action to authorize any ofthe foregoing; or

               (iii) if an involuntary case or other proceeding shall have been commenced
         against the Nominee or the Company seeking liquidation, reorganization or other relief
         with respect to it or its debts under' any bankruptcy, insolvency or other similar law now or
         hereafter in effect, or seeking the appointment of a trustee, receiver, liquidator, custodian
         or other similar official of it or• any substantial part of its property, and such involuntary
         case or other proceeding shall have remained undismissed and unstayed for a period of 60
         days, or an order for relief shall have beets entered against the Nominee or the Company
         under the federal bankruptcy laws as now or hereafter in effect.

                 (b)     If YT determine that a basis exists for removal of the Nominee under
  Section 9(a) above, he shall deliver written notice of such determination to the Nominee stating
  the basis for such removal.
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                  (c)     The Nominee shall resign his position as such (i) upon ten days' written
 notice to YT but only if a successor Nominee, appointed as provided for in Section 8 above, has
 agreed to serve as such effective upon the effectiveness of the resignation of the Nominee then
 acting, or (ii) in any event upon 2 days' written notice to YT. Upon the removal or resignation of
 the Nor,-,inee; the Nominee shall transfer a►Zd assign all Units to the successor Nominee or to YT
 according to YT's instruction and shall take all other actions that are necessary to affect such
 transfer or assignment.

                 SECTION 10. Transfer Restrictions• Transfer. The Nominee shall not Transfer the
 Units, and the Company shall not Transfer the Pacific Units to any person without the prior written
 consent of YT. Upon the Transfer of any of the Units or Pacific Units, the proceeds shall be
 distributed promptly by the Nominee or the Company, as the case may be, pursuant to transfer
 instructions set forth on Schedule A attached hec~eto.

                SECTION 11.        Expenses. Reasonable expenses lawfully incurred in the
 administration of the Nominee or the Company's duties hereunder shall be reimbursed to it by YT.
 The provisions of this Section 11 shall survive the termination of this Agreement.

                 SECTION 12. Meraer,     Etc. Upon any merger, consolidation, reorganization or
 dissolution of the Company or Pacific Technology or the sale of all or substantially all of the assets
 of the Company or Pacific Technology pursuant to which shares of capital stock or other voting
 securities of another company are to be issued in payment or exchange for or upon conversion of
 Units or Pacific Units and other voting securities, the shares of said other company shall
 automatically be and become subject to the terns of this Agreement and be held by the Nominee
 or the Company hereunder in the same manner and upon the same terms as the Units or Pacific
 Units. At the request of YT, the Nominee and the Company shall transfer, sell or exchange or join
 with YT in such transfer, sale or exchange of Units, Pacific Units and other voting securities in
 exchange for shares or units of another Company, and in said event the shares, units and other
 voting securities of the other Company received by the transferor shall be and become subject to
 this Agreement and be held by the Nominee or the Company hereunder in the same manner as the
 Units or the Pacific Units.

                 SECTION ] 3. Notices. All notices, reports, statements end other communications
 directed to the Nominee from the Cotr~pany or to the Company from Pacific Technology, other
 than carnmunications pertaining to the voting of the Units or the Pacific Units, shall be forwarded
 promptly by the Nominee or the Company to YT. All notices, notices of election and other
 communications required hereby shall be given in writing by overnight courier, telegram or
 facsimile transmission and shall be addressed, or sent, to the appropriate addresses as set forth
 beneath the signature of each party hereto, or at such other address as to which notice is given in
 accordance with this Section 13.

                 SECTION 14. Indemnity, Etc.

                  (a)   YT agrees to indemnify the Nominee from and against any and all loss,
 liability, claim, damage andexpense whatsoever (including, but not limited to, any and all expense
 whatsoever reasonably incurred in investigating, preparing or defending against any litigation,

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 commenced or threatened, or any claims whatsoever)(the "Indemnified Claims") arising out of
 or based upon this Agreement or• the actions or failures to act of the Nominee hereunder or
 thereunder, except to the extent such loss, liability, claim, damage or expense is caused by or
 results from the Nominee's gross negligence or willful misconduct(as determined by a final and
 ~~nanpeal_a_ble orc_ler of ~ c~~rt of c~rnnetent iurisdictionl.

               (b)     The Nominee shall be entitled to the prompt reimbursement for his out-of-
 pocicet expenses (including reasonable attorneys' fees and expenses) incurred in investigating,
 preparing or defending against any litigation, commenced or threatened, arising out of or based
 upon this Agreement, or the actions or failures to act of the Nominee hereunder or thereunder,
 without regard to the outcome of such litigation; provided, however, that the Nominee shall be
 obligated to return arty such reimbursemeirt if it is subsequently determined by a final and
 unappealable order of a court of competent jurisdiction that the Nominee was grossly negligent or
 engaged in willful misconduct in the matter in question.

                 (c)    In order for the Nominee to be entitled to any indemnification provided for
 under this Section 14 in respect of, arising out of or involving a claim made by any person not a
  party hereto against the Nominee (a "Third Party Claim"), the Nominee must notify YT in
  writing of such Third Party Claim (setting forth in reasonable detail the facts giving rise to such
  Third Party Claim (to the extent known by the Nominee) and the amount or estimated amount(to
 the extent reasonably estimable) of losses arising out of such Third Party Claim) promptly after
  receipt by the Nominee of notice ofsuch Third Party Claim. Thereafter, the Nominee shall deliver
  to YT, promptly after the Nominee's receipt thereof, copies of all notices and documents
 (including court papers) received by the Nominee relating to the Third Party Claim.

                 (d)      If a Third Party Claim is made against the Nominee, YT shall be entitled to
  participate in the defense  thereof and, if it so chooses, to assume the defense thereof with counsel
  selected by YT. Any such participation or assumption shall not constitute a waiver by any party of
  any attorney-client privilege in connection with such Third Party Claim. If YT assumes the defense
  of a Third Party Claim in accordance with this Section 14, the Nominee shall have the right to
  participate in the defense thereof and to employ counsel(not reasonably objected to by YT), at his
  own expense, separate from the counsel employed by YT,it being understood that YT shall control
  such defense.

                 (e)    If YT assumes the defense of a Third Party Claim, YT shall not settle such
  Third Party Claim without the prior written consent of the Nominee (which consent shall not be
  unreasonably withheld, conditioned or delayed), except that YT shall have the right to settle such
  Thic•d Party Claim without the consent of the Nominee if such settlement (i) does not involve any
  admission by the Nominee of any violation of law,(ii) does not involve an injunctive or equitable
  or any other relief against the Nominee other than monetary damages, and (iii) expressly and
  unconditionally releases the Nominee from all liabilities and obligations with respect to such Third
  Party Claim.

                 (~      If YT does not elect to assume the defense of the Third Party Claim, the
  Nominee may assume the defense of a Third Party Claim;provided that(i) YT shall have the right
  to participate in the defense thereof and to employ counsel (not reasonably objected to by the
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 Nominee), at his own expense, separate from the counsel employed by the Nominee, it being
 understood that the Nominee shall control such defense. If the Nominee assumes the defense of a
 Third Party Claim, the Nominee shall not settle such Third Party Claim without the prior written
 consent of YT(which consent shall not be unreasonably withheld, conditioned or delayed).

             (g)      The provisions of this Section 14 shall survive the termination of this
 Agreement or the removal of the Nominee.

                 SECTION 15. Confidentiality.

               (a)The terms and conditions of this Agreement, all exhibits and schedules attached
 hereto and thereto, the transactions contemplated hereby and thereby, including their existence,
 and all information furnished by each party hereto and by representatives of such party to the other
 party hereof or any of the representatives of such party (collectively, the "Confidential
 Information"), shall be considered Confidential Information and shall not be disclosed by any
 party hereto to any third party except in accordance with the provisions set forth below.

                (b) Notwithstanding the foregoing, each party may disclose (i) the Confidential
 Information to its current accountants, custodian or legal counsels, or its Affiliates and their
 respective employees who need to know such information solely for the purpose ofthe transaction
 contemplated in this Agreement, in each case only where such persons or entities are informed of
 the confidential nature of the Confidential Information and are under appropriate nondisclosure
 obligations substantially similar to those set forth in this Section 15, (ii) such Confidential
 Information as is required to be disclosed pursuant to routine examination requests from
 governmental authorities with authority to regulate such party's operations, in each case as such
 party deems appropriate in good faith, and (iii) the Confidential Information to any person to which
 disclosure is approved in writing by the other party. Any pac~ty hereto may also provide disclosure
 as required by applicable law, rules, regulations or legal process (including, pursuant to any
 applicable tax, securities, other laws of any jurisdiction or any applicable stock exchange or rules
 or regulations), as set forth in Section 15(c) below.

               (c) Except as set forth in Section 15(b) above, in the event that any party is
 requested or becomes    legally compelled (including without limitation, pursuant to any applicable
 tax,securities, other laws ofany jurisdiction, or any applicable stock exchange rules or regulations)
 to disclose the existence of this Agreement or any Confidential Information, such party (the
 "Disclosing Party") shall provide the other party hereto with prompt wri9ten notice of that fact
 and shall consult with the other panty hereto regarding such disclosure. At the request of any other
 party, the Disclosing Party shall, to the extent reasonably possible and with the cooperation and
 reasonable efforts of the other parties, seek a protective order, confidential treatment or other
 appropriate remedy. In any event, the Disclosing Party shall furnish only that portion of the
 information that is legally required and shall exercise reasonable efforts to obtain reliable
 assurance that confidential treatment will be accorded such information.

                (d) Notwithstanding any other provision of this Section 15, the confidentiality
  obligations of the parties shall not apply to: (i) information which a restricted party learns from a
  third party which the receiving party reasonably believes to have the right to make the disclosure,
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 provided that the restricted party complies with any restrictions imposed by the third party; (ii)
 information which is rightfully in the restricted party's possession prior to the time of disclosure
 by the protected party and not acquired by the restricted party under a confidentiality obligation;
 or (iii) information which enters the public domain without breach of confidentiality by the
 r~ct~j~t~cl ~~rty,

                 SECTION 16. Reversion to YT. As security for the faithful performance of this
 Agreement, the Nominee and the Company agree, immediately upon receipt of the fully executed
 version of this Agreement, to deliver to YT:(i) an Assignment and Admission Agreement in the
 form. of Exhibit A attached to this Agreement, executed by the Nominee and by the Nominee's
 spouse, if any, or the Company (with the date and number of units left blank)(the "Assignivent"),
 and (ii) a power of attorney in the form of Exhibit B hereto granting YT the authority to date and
 fill in the blanks of the Assignment upon termination of this Agreement pursuant to the terms
 hereof. Upon the complete execution of the Assignment by either the Nominee or 6y YT on the
 Nominee or the Company's behalf pursuant to this Section 16, ownership of the Units or Pacific
 Units shall fully revert to YT and, for the avoidance of doubt, the Nominee shall no longer hold
 any rights with respect to the Units or Pacific Units.

                SECTION 17. Counterparts. This Agreement may be executed in multiple
 counterparts all of which counterparts together shall constitute one agreement.

               SECTION 18. Choice of Law. This Agreement is intended by the parties to be
 governed and construed in accordance with the laws of the State of Delaware.

                SECTION 19. Bond. The Nominee shall not be required to provide any bond to
 secure the performance of his duties hereunder.

                 SECTION 20. Reliance. The Nominee and the Company acknowledge that YT
  will rely on the Nominee and the Company abiding by the terms of this Agreement, including,
  without limitation, that(x)the Nominee and the Company will exercise independent judgment in
  voting the Units or Pacific Technology and will not consult with any YT Affiliate regarding the
  voting of such Units or Pacific Units and (y) the Nominee and the Company will not consent to
  any amendment or waiver of this Agreement prohibited. by Section 21 hereof whether or not such
  amendment or waive° is app~•oved by each ofthe parties hereto.

                  SECTION 21. Amendments and Waivers. This Agreement may not be amended
  or waived in any material respect, unless an independent, nationally recognized counsel, who are
  experts itl matters involving the federal securities law, provides to YT an opinion (which opinion
  and counsel shall be satisfactory to YT)that, immediately after such ametldment or waiver, YT
  should not be an "affiliate" ofthe Company or Pacific Technology within the meaning ofRule 144
  under the Securities Act.

                   SECTION 22. Benefits and Assi~nent.
                                                     nl      Nothing in this Agreement, expressed or
  implied, shall give  or be construed to give any  persons, firm or Company, other than the parties
  hereto and their successors and assigns, any legal claim under any covenant, condition or provision
  hereof, all the covenants, conditions and provisions contained in this Agreement being for the sole
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 benefit ofthe parties hereto and their successors and assigns. No party may assign any of its rights
 or obligations under this Agreement without the written consent of all the other parties, which
 consent may not be unreasonably withheld.

                SECTION 23. Termination ofthe Previous Nominee Agreements. Upon complete
 execution of this Agreement by the parties hereto, the Previous Nominee Agreements shall each
 respectively be terminated immediately, and each of YT and the Nominee shall be fully released
 from such party's obligations to the other under each such Previous Nominee Agreements.

                 SECTION 24. Severability. In case any provision in this Agreement shall be
 invalid, illegal or unenforceable, the validity, legality and enforceability of the remaining
 provisions shall not in any way be affected or unpaired thereby.

         1.    No Partnership. The Nominee and his or her agents and employees will
  perform their duties and obligations under this Agreement as independent contractors.
  Nothing contained in this Agreement will be construed as creating an employment, agency,
  partnership,joint owner, or joint venture relationship between the parties.



                       [Remainder ofpage intentionally left blank. Signature pagefollows.]




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                   EXECUTED as of the date and year first above svritt~n.

                                              LIAN BCISSERT
                                              as Nominee

                                                     i
                                              By:

    WEST COAST LLC


    By:
    Name: Jin Jin
   'I'iCle: President and Secretary


    JIA YUETII~IU



    ay:




                                 (Sigracrtctr•e Ptzge to Nominee A,~reerrrentJ
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                     EXE£~UTrD as of ii~e date anti year first above tiv~~itten.

                                                 I.CAi~t ROBBERY
                                                 as Nominee


                                                 I3y:

      ~~VL~`I' CUAS'T LLC


      BY: _           ~~.`
      Naine:.lin .iin
      Title: President and Secretary


      JIA YIJETI~iG




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               EXECUTED as of the date and year first above written.

                                       LIAN BOSSERT
                                       as Nominee


                                        C

 WEST COAST LLC


 By:
 Name: ,Tin Jin
 Title: President and Secretary


 JIA ~'UETING



 By:




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                                       SCHEDULE A

                               `TRANSFER INSTRUCTIONS

  All payments shall be made by check mailed to 91 Marguerite, Rancho Palos Verdes, CA90275.




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                                    EXHIBIT A

                      ASSIGN1ViENT ANll ADMISSION AGI~EENIENT




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                     ASSIGNMENT AND ADMISSION AGREEMENT

       This Assignment and Admission Agreement, dated as of            _,~0_ (this
"Agreement"), is entered into by and between Lian Bossert ("Assignor") and Jia YueTing
("Assignee").

                                         BACKGROUND

 A.    West Coast LLC(the"Company")has been formed as a limited liability company under the
       Delaware Limited Liability Company Act(6 De1.C. § 18-1.01., et seq.)(the "Act") and is
       governed by the Act and the Limited Liability Company AgY•eement ofthe Company,dated
       as of July 31, 2019, as amended from time to time (the "LLC Agreement").

 B.    The Assignor is a member of the Company and, immediately prior to the execution of this
       Agreement, holds 90,588,235 units, which represents 100% ofthe membership interest in the
       Company (the "Units").

 C.    The Assignor desires to assign,transfer and convey his interest in the Units(collectively, his
       "Interests")to the Assignee, and the Assignees desires to acquire the Interests, in the manner
       as set forth. herein.

 D.    Pursuant to transfer of the Interests, Assignee desires to be admitted to the Company as a
       member ofthe Company,and the undersigned desires to continue the Company as set forth
       herein.

       NOW, THEREFORE, the undersigned, in consideration of the premises, covenants and
 agreements contained herein, does hereby agree as follows:

  1.   Assi ~nment. For value received, the receipt and sufficiency of which are hereby
       acknowledged, upon the execution ofthis Agreement by the parties hereto,the Assignor does
       hereby assign,transfer and convey his Interests to the Assignee,such that Assignee shall hold
       100% ofthe membership interests in the Company after such transfer or assignment.

 2.    Admission. Effective contemporaneously with the assignment described in Section 1 ofthis
       Agreement, Assignee shall be admitted to the Company as a member of the Company and
       hereby agrees to be bound by all the terms and conditions ofthe LLC Agreement.

       Continuation ofthe Company. The parties hereto agree that the assignment ofthe Interests
       and the admission of the Assignee as a member of the Company shall not dissolve the
       Company.

 4.    Cooperation. Assignee agrees to be bound by all ofthe provisions ofthe LLC Agreement to
       the same extent as though the Assignee had executed the LLC Agreement. Each of the
       parties hereto agrees to cooperate at all times from and after the date hereof with respect to
       all of the matters described herein, and to execute such further assignments, releases,
       assumptions,amendments ofthe LLC Agreement, notifications and other documents as may


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        be reasonably requested for the purpose ofgiving effect to, or evidencing or giving notice of,
        the transactions contemplated by this Agreement.

 5.     Miscellaneous; Governin Law. This Agreement shall be binding upon, and shall inure to
        the benefit of,the parties hereto and their respective successors and assigns. This Agreement
        may be executed in counterparts and delivered via fax, email or scanned copies, each of
        which shall be deemed an original, but all of which shall constitute one and the same
        instrument. This Agreement shall be governed by, and interpreted in accordance with, the
        laws ofthe State of Delaware, all rights and remedies being governed by such laws.

             [Remainder of~age intentionally left blank — signat2~re purgesfollow.]




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        IN WITNESS ~'VH~REOF, the parties hereto have caused this Agreement to be duly
 executed as of the day and year first above written.

                                              ASSIGNOR:

                                        LIAN BOSSERT




                                        C




                                               ASSIGNEE:

                                        JIA YUETING




                                         C




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                       ASSIGNMENT AND ADMISSION AGREEIVIENT

       This Assignment and Admission Agreement, dated as of             _,~~        (this
 "Agreement"), is entered into by and between West Coast LLC, a Delaware limited liability
 company ("Assigiioi•") and Jia YueTing ("Assignee").

                                          BACKGROUND

 A.    Pacific Technology Holding LLC (the "Company")has been formed as a limited liability
        company under the Delaware Limited Liability Company Act(6 De1.C. § 18-101, et seq.)
       (the "Act") and is governed by the Act and the Third Amended and Restated Limited
        Liability Company Agreement of the Company, dated as of July 5, 2019, as amended from
        time to time (the "LLC Agreement").

 B.     The Assignor is a member ofthe Company and, immediately prior to the execution of this
        Agreement, holds 90,588,235 preferred units in the Company (the "[Jnits").

 C.     The Assignor desires to assign,transfer and convey his interest in the Units(collectively, his
        "Interests")to the Assignee, and the Assignees desires to acquire the Interests, in the manner
        as set forth herein.

 D.     Pursuant to transfer of the Interests, Assignee desires to be admitted to the Company as a
        member ofthe Coi~lpany, and the undersigned desires to continue the Company as set forth
        herein.

        NOW, THEREFORE, the undersigned, in consideration of the premises, covenants and
 agreements contained herein, does hereby agree as follows:

  1.     Assignment. For value received, the receipt and sufficiency of which are hereby
         acknowledged,upon the execution ofthis Agreement by the parties hereto,the Assignor does
         hereby assign, transfer and convey all ofthe Units to the Assignee.

 2.      Admission. Effective contemporaneously with the assignment described in Section 1 ofthis
         Agreement, Assignee shall be admitted to the Company as a member of the Company and
         hereby agrees to be bound by all the terms and conditions ofthe LLC Eigreetnent.

 3.      Continuation ofthe Company. The parties hereto agree that the assignment of the Interests
         and the admission of the Assignee as a member of the Company shall not dissolve the
         Company.

 4.      Cooperation. Assignee agrees to be bound. by all ofthe provisions ofthe LLC Agreement to
         the same extent as though the Assignee had executed the LLC Agreement. Each of the
         parties hereto agrees to cooperate at all times from and after the date hereof with respect to
         all of the matters described herein, and to execute such further assignments, releases,
         assumptions,amendments ofthe LLC Agreement,notifications and other documents as may

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       be reasonably requested for the purpose of giving effect to, or evidencing or giving notice of,
       the transactions contemplated by this Agreement.

 5.    Miscellaneous; Governine Law. This Agreement shall be binding upon, and shall inure to
       the benefit of,the parties hereto and their respective successors and assigns. This Agreement
       may be executed in counterparts and delivered via fax, email or scanned copies, each of
       which shall be deemed an original, but all of which shall constitute one and the same
       instrument. This Agreement shall be governed by, and interpreted in accordance with, the
       laws of the State of Delaware, all rights and remedies being governed by such laws.

             [Remainder ofpage intentionally left blank —signature pagesfollow.




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           IN WITNESS WHEREOF,the parties hereto have caused this Agreement to be duly
    executed as ofthe day and year first above written.

                                                        ASSIGNOR:

                                                WEST COAST LLC


                                                By:



                                                        ASSIGNEE:

                                                JIA YUETING


                                                C




                           [Signature Page to Instrc~r~aent ofTransfer]
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                                               ~xx~BIT B
                                    POWER OF ATTORNEY


         The undersigned, by way of security and in order more fully to secure the performance of
 its obligations under the Nominee Agreement between the undersigned, West Coast LLC, a
 Delaware limited liability company ("West Coast") and Jia Yueting ("YT") dated as of July 31,
 2019(the "Nominee Agreement") hereby irrevocably appoints YT to be its attorney:

(a)      to execute and complete in favour of YT the Assignment and Admission Agreement
 between the undersigned and YT pursuant to which the undersigned shall assign and transfer all
 the units and membership interests in West Coast to YT (the "Assignment');

 (b)     to sigtl, execute, seal and deliver and otherwise perfect and do any such legal assignments
  and other assurances, charges, authorities and documents to complete the transactions
  contemplated by the Assignment and other documents or acts which may be required for the full
  exercise of all or any ofthe powers conferred or which may be deemed proper on or in connection
  with any of the purposes aforesaid.

         The power hereby conferred is irrevocable and shall be a general power of attorney and the
  undersigned hereby ratifies and confirms and agrees to ratify and confirm any instrument, act or
  thing which any such attorney may execute or do. In relation to the power referred to herein, the
  exercise by YT of such power shall be conclusive evidence of its right to exercise the same.

                 EXECUTED by the undersigned as of July 31, 2019.


                                          LIAN BOSSERT


                                           C




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                                    POWER OF ATTORNEY


         The undersigned, by way of security and in order more fully to secure the performance of
 its obligations under the Nominee Agreement between the undersigned, Lian Bossert and Jia
 Yueting ("YT") dated as of July 31, 2019 (the "Nominee Agreement') hereby irrevocably
 appoints YT to be its attorney:

 (a)      to execute and complete in favour of YT the Assignment and Admission Agreement
  between the undersigned and YT pursuant to which the undersigned shall assign and transfer all
  the units and membership interests in Pacific Technology Holding LLC, a Delaware limited
  liability company ("Pacific Technology") to YT (the "Assignment");

 (b)     to sign, execute, seal and deliver and otherwise perfect and do any such legal assignments
  and other assurances, charges, authorities and documents to complete the transactions
  contemplated by the Assignment and other documents or acts which may be required for the full
  exercise of all or any ofthe powers conferred or which may be deemed proper on or in connection
  with any of the purposes aforesaid.

         The power hereby conferred is irc•evocable and shall be a general power of attorney and the
  undersigned hereby ratifies and confirms and agrees to ratify and confirm any instrument, act or
  thing which any such attorney may execute or do. In relation to the power referred to herein, the
  exercise by YT of such power shall be co~iclusive evidence of its right to exercise the same.

                 EXECUTED by the undersigned as of July 31, 2019.


                                          WEST COST LLC




                                               Name: Jin Jin
                                               Title: President and Secretary




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                                                                           EXECUTION VERSION


                          THIRD A1bIENDED AND RESTATED
                      LIMITED LIABILITY COMPANY AGREEIWIENT
                                        OF
                        PACIFIC TECHNOLOGY HOLDING LLC

                This Third Amended and Restated Limited Liability Company Agreement (this
"Agreement") of PACIFIC TECHNOLOGY HOLDING LLC (the "Company") is made and
 entered into as of July 5, 2019 (the "Effective Date") by and among the Company, Lian Bossert
(the "Non-Managing Member"),FF Global Partners LLC,a Delaware limited liability company
("FF Global") and each other Person who is admitted as a member of the Company from time to
 time in accordance with the provisions of this Agreement(each a "Nlembei•" and collectively, the
"lYlembers").

                                            RECITALS

                 WHEREAS,the Company was formed on July 26,2018 under the provisions ofthe
 Delaware Limited Liability Company Act(6 DeI.C. §18-101, et seq.), as amended from time to
 time (the "Act"), as a result of the filing of a Cef•ti~cate of Formation with the Secretary of State
 of the State of Delaware;

               WHEREAS, the Non-Managing Member has entered into that certain Limited
 Liability Company Agreement ofthe Company,dated as of May 7, 2019 pursuant to which he was
 named the "Managing 1Vlember" of the Company (the "LLC Agreement");

               WHEREAS,FF Global has entered into that certain Subscription Agreement with
 the Company pursuant to which FF Global subscribed for and the Company issued to FF Global
 an aggregate of 362,352,941 Common Units (the "Subscription Agreement') at $0.50 per
 Common Unit;

              WHEREAS,the Non-Managing Member desires to admit FF Global as a 1~Iember
 of the Company and to amend and restate the LLC Agreement to appoint FF Global as the
 "Managing Member" in the Noii-Managing Member's place, as set forth more particularly herein;
 and

                WHEREAS, this Agreement amends, restates, supersedes and replaces the LLC
  Agreement in its entirety.

                NOW,THEREFORE,the Members agree as follows:

         1.      Name. The name of the Company is "Pacific Technology Holding LLC".

         2.     Organization. The Company has been organized as a Delaware limited liability
 company pursuant to the provisions of the Act. Membership in and management of the Company
 shall be governed by the terms and conditions set forth in this Agreement.
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         3.      Purpose. The purpose and business ofthe Company is to engage in any lawful act
 or activity for which limited liability companies may be formed under the Act and to engage in
 any and all activities necessary, customary, convenient or incidental to the foregoing.

       4.      Po~~ers. In furtherance of its purposes, but subject to all of the provisions of this
 Agreement, the Company shall have the power and is hereby authorized to:

        (a) acquire by purchase, lease, contribution of property or otherwise, own, hold, sell,
  convey, transfer or dispose of any real, personal or intangible property which may be necessary,
  convenient or incidental to the accomplishment of the purposes of the Company;

         (b) act as a trustee, executor, nominee, bailee, director, officer, manager, agent or in
  some other fiduciary capacity for any Person and to exercise all of the powers, duties, rights and
  responsibilities associated therewith;

        (c) take any and all actions necessary, convenient or appropriate as trustee, executor,
  nominee, bailee, director, officer, manager, agent or other fiduciary, including the granting or
  approval of waivers, consents or amendments of rights or powers relating thereto and the
  execution of appropriate documents to evidence such waivers, consents or amendments;

         (d) operate, purchase, maintain, finance, improve, own,sell, convey, assign, mortgage,
  lease or demolish or otherwise dispose of any real, personal or intangible property which may be
  necessary, convenient or incidental to the accomplishment of the purposes of the Company;

        (e) borrow money and issue evidences of indebtedness in furtherance of any or all of
  the purposes of the Company, secure the same by mortgage, pledge or other lien on the assets of
  the Company; and prepay in whole or in part, refinance, recast, increase, modify or extend any
  indebtedness of the Company and, in connection therewith, execute any extensions, renewals or
  modifications of any mortgage or security agreement securing such indebtedness;

        (~      invest any funds of the Company pending use, payment or distribution of the same
  pursuant to the provisions of this Agreement;

         (g) enter into, perform and carry out contracts of any kind, including, without
  limitation, contracts with any Person affiliated with a Member, necessary to, in connection with,
  convenietlt to, or incidental to the accomplishment of the purposes of the Company;

        (h) employ or otherwise engage employees, managers, contractors, advisors, attorneys
  and consultants and pay reasonable compensation for such services;

        (i)     enter into partnerships, limited liability companies, trusts, associations,
  corporations or other ventures with other Persons in furtherance of the purposes ofthe Company;
  and




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        (j)     do such other things and engage in such other activities related to the foregoing as
  may be necessary, convenient or incidental to the conduct of the business of the Company, and
  have and exercise all of the powers and rights conferred upon limited liability companies formed
  pursuant to the Act.

        5.      Principal Office. The principal business office ofthe Company shall be located at
 such location as tnay hereafter be determined by the Managing Member.

        6.      Filings; Agent for Service of Process.

         (a) Certificate of Formation. A Certificate of Formation has been filed with the
  Secretary of State of the State of Delaware. The Managing Member or an Officer shall execute,
  deliver and file (i) any amendments to the Cec~tificate of Formation deemed necessary or desirable
  by the Managing Member and (ii) any other certificates(and any amendments and/or restatements
  thereof necessary for the Company to qualify to do business in a jurisdiction in which the
  Company may wish to conduct business.

       (b) Registered Agent. The name and address of the registered agent and office of the
  Company in the State of Delaware is The Corporation Trust Company, 1209 Orange Street,
  Wilmington, New Castle County, Delaware 19801.

        7.      Members

        (a) Member. Exhibit A attached hereto and as amended from time to time sets forth
  for each Member of the Company, such Member's name and present mailing address and the
  amount and series of Units of the Member in the Company.

          (b) Initial Capital Contribution. The Members have subscribed for and own that
  percentage of the Company's membership interests as set forth beside each such Member's name
  under the column entitled "Percentage Interest" on Exhibit A attached hereto, as amended from
  time to time. Each Member has contributed (or will contribute) certain cash, assets or property
  to the Company in exchange for such membership interests in the amount set forth beside each
  such Member's name under the column entitled "Capital Contribution" on Exhibit A attached
  hereto, as amended from time to time. Each 1Vlember acknowledges and agrees that, as part of its
  initial Capital Contribution to the Company,the Managing Member is permitted to make Capital
  Contributions after the date of this Agreement in an aggregate amount up to $181,176,470.60
  without the consent of the Non-Managing IVlernber as further described in Exhibit A attached
  hereto.

        (c) Additional Contributions. No Member shall be required to make or, except as
  contemplated above, be pec•mitted to make any additional Capital Contributions to the Company
  without the consent of the Managing Member.

       (d) Additional Members. One or more additional members, including substitute
  members, may be admitted to the Company with the consent of the Managing Member. Prior to

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  the admission of any such additional members to the Company, the Members shall amend this
  Agreement to make such changes as the Members shall determine to be necessary to reflect the
  fact that the Company shall have such additional members (or substitute members). Each
  additional member (or substitute ine~nber) shall execute and deliver a supplement or counterpart
  to this Agreement (each, a "Joinder"), as necessary, under which it shall become a "Member"
  hereu~ider. The Managing Member may amend Exhibit A hereto to reflect such additional or
  substitute members as may be required from time to time.

        (e) Membership Interests; Certificates. Upon any Member's request, the Company
  will issue a certificate to such Member representing the membership interests held by such
  Member.

         8.     Management by Managing Member.

         (a) Member-Managed. In accordance with Section 18-402 ofthe Act, management of
  the Company shall be vested in the "Managing Member". The Managing Member shall have the
  power to do any and all acts necessary, convenient or incidental to or for the furtherance of the
  purposes described herein, including all powers, statutory or otherwise, possessed by members of
  a limited liability company under the laws ofthe State of Delaware. The Managing Member has
  the authority to bind the Company. As of the date Hereof, the Managing Member shall be FF
  Global.

          (b) Officers. The Managing Member may,from time to time as the Managing Member
  deems advisable, appoint officers of the Company (each an "Officer" and collectively, the
  "Officers") and assign in writing titles (including, without limitation, President, Vice President,
  Secretary, and Treasurer) to any such person. Unless the Managing Member decides otherwise,
  ifthe title is one commonly used for officers of a business corporation formed under the Delaware
  General Corporation Law, the assignment of such title shall constitute the delegation to such
  person of the authorities and duties that are normally associated with that office. Any delegation
  pursuant to this Section 8 may be revoked at any time by the Managing Member.

         (c) Reliance. Any Person dealing with the Company may rely (without duty of further
   inquiry) upon a certificate signed by the Managing Member as to the identity and authority of a
   manager, an Officer or other person to act on behalf ofthe Company or any Member.

         (d)     Certain Tax Matters.

                 (i)     FF Global Partners LLC, or such other Person designated by the Managing
  Member shall be designated the "partnership representative"(the "Partnership Representative")
  as defined in Code Section 6223 and the Company and the Members shall complete any necessary
  actions (including executing any requested certificates or other documents) to effectuate such
  designation. The Partnership Representative may make any elections available to be made as
  Partnership Representative, and shall make the election described in Code Section 6226(x)(1)(as
  in effect following the effective date of its amendment by Section ll Ol of the Bipartisan Budget


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 Act of 2015)to impose any adjustment to taxes proposed by the IRS with respect to the Company
 on the Persons that held membership interests in the Company during the tax periods) of such
 proposed adjustment, in accordance with each such Person's distributive share of the Company's
 net income for such tax period(s).

                 (ii)   The Partnership Representative shall receive no compensation for its
 services as such. All reasonable and docutnetited third party costs and expenses incurred by the
 Partnership Representative in performing his, her or its duties as such (including legal and
 accounting fees and expenses) shall be borne by the Company. Nothing herein shall be construed
 to restrict the Company froth engaging an accounting arm to assist the Partnership Representative
 in discharging his, her or its duties hereunder. The Company shall indemnify and hold harmless
 the Partnership Representative with respect to any Proceeding brought against it in connection
 with any Proceeding related to the Partnership Representative acting in their respective capacities
 as such, except in actions in which the Partnership Representative is found to have acted
 fraudulenCly or willfully negligent with respect to its rights and responsibilities as the Partnership
 Representative.

               (iii) Notwithstanding anything to the contrary herein, neither the Partnership
 Representative nor the Managing Member shall take any action with respect to tax matters of the
 Company(including any settlement or compromise of any tax dispute ofthe Company)that would
 disproportionately affect the tax liability of a Member or its direct or indirect owners in a material
 and adverse matmer without such Member's prior written consent.

              (iv)     The Managing Member may make, or cause to be made, all elections of the
  Company for U.S. federal income and all other tax purposes.

                (v)      Each Member agrees that such Member will not treat any Company item
  inconsistently on such Member's federal, state, foreign or other income tax return with the
  treatment of the item on the Company's return.

                (vi)      At the expense of the Company, the Managing Member will endeavor to
  cause the complete and accurate preparation and timely filing (including extensions) of all tax
  returns required to be filed by the Company pursuant to the Code as well as all other required tax
  returns in each jurisdiction in which the Company and. its Subsidiaries own property or do business.
  As soon as reasonably possible after the end of each Fiscal Year, and no later than one hundred
  twenty (120) days after the end of such Fiscal Year, the Managing Member will cause to be
  delivered to each Person who was a Member• at any time during such Fiscal Year, IRS Schedule
  K-1 to Form 1065 and such other information with respect to the Company as may be necessary
  for the preparation of such Person's federal, state and local income tax returns for such Fiscal Year.
  Upon request of any Member,the Company will provide tax data in electronic form as reasonably
  requested within one hundred twenty(120) days after the end of such Fiscal Year. The Managing
  Member will have the right to select the external firm that prepa~~es the Company's tax returns.




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                 (vii) All funds of the Company will be deposited in its name, or in such name as
 may be designated by the Managing Member, in such checking, savings or other accounts, or held
 in its name in the form of such other investments as will be designated by the Managing Member.
 The funds of the Company will not be commingled with the funds of any other Person. All
 withdrawals of such deposits or liquidations of such investments by the Company will be made
 exclusively upon the signature or signatures of such Officer or Officers as the Managing Member
 may designate.

        9.      Units Generally; Issuance of Additional Interest; Redemption. The
 membership interests of the Members will be represented by issued and outstanding Units, which
 may be divided into one or more types, classes or series as determined by the Managing Member.
 Each type, class or series of Units will have the privileges, preference, duties, liabilities,
 obligations and rights, including voting rights, if any, set forth in this Agreement with respect to
 such type, class or series. As ofthe date hereof, the Company is authorized to issue two classes of
 Units, designated as "Common Units" and "Preferred Units." The Company will maintain a
 schedule, attached hereto as Exhibit A,of all Members,their respective mailing addresses and the
 amount and series of Units held by them (the"Members Schedule"), and will update the Members
 Schedule upon the issuance or Transfer to any new or existing Member. As ofthe date hereof, all
 Preferred Units are held by the Non-Managing Member. The l~iembers Schedule will be kept
 confidential but will be available for review at the Company to all holders of Units.

          (b) Upon the affirmative approval of the Managing Member, the Company shall be
   authorized to issue up to 362,352,941 Common Units. With the consent of the Managing
   Member, the Company may create and issue to Members or additional Persons who may be
   admitted to the Company as Members (a) additional Common Units (including other classes or
   series thereof having different rights), (b) obligations, evidences of indebtedness or other
   securities or interests convertible or exchangeable into membership interests and (c) warrants,
   options or other rights to purchase or otherwise acquire membership interests in the Company
  (any of the foregoing, "Additional Interests"); In connection with any approved issuance of
   Additional Interests to any Person hereunder, such Person shall, at the Company's request,
   execute and deliver a Joinder and enter into such other documents and instruments to effect such
   issuance as are required by the Managing Member. Upon the issuance of any Additional Interests
   and the payment of the Capital Contribution with respect thereto (if any), the Capital Account of
   the recipient of such Additional Interests shall be adjusted pursuant to Section 13.

         (c) Holders ofthe Preferred Units shall have rights, privileges and preference to receive
   Distributions and allocation of Economic Interests in preference to holders ofthe Common Units
   including the special allocation rights described in Section 16.

          (d) Upon the Transfer of any Preferred Units from the Non-Managing Member to a
   third party or to FF Global, all of the Preferred Units so Transferred shall automatically convert
   into Common Units without any further action ofthe Managing Member.
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         (e) Each 1Vlember acknowledges and agrees that,to the extent that any Member holding
  the Common Units (i) breaches the terms of this Agreement or any other agreements or contracts
  between such Member and the Company or (ii) conducts his or herself in any manner which is
  detrimental to the Company, as determined by the Managing Member in its sole discretion, then
  the Company has the right, but not the obligation, to redeem any or all ofthe Common Units then
  held by such Member at a price determined by the Managing Member, which shall not be less
  than the original purchase price paid by such Member for such Common Units. All Units that are
  redeemed pursuant to this Section 9(e) shall be cancelled immediately.

         (~      If either Faraday &Futures Inc., a California corporation, or Smart King files for
  bankruptcy or undergoes a»y similar Proceeding, the Company shall redeem all of the Units
  issued to holders of the Common Units at a price equal to the amount of purchase price that has
  been paid by such Member to the Company prior to and as of the date of such redemption plus
  reasonable interest determined by the Company in its sole discretion;provided, that such interest
  shall in no event exceed six percent(6%)per annum. All Units that are redeemed pursuant to this
  Section 9(fl shall be cancelled immediately.

        (g) To the extent any holder of the Common Units redeems any Units issued to its
  members and has such Units cancelled, the Company may redeem a corresponding amount of
  Units from such holder of Common Units at the same consideration as such holder redeems its
  own Units. All Units that are redeemed pursuant to this Section 9(~) shall be cancelled
  immediately.

         (h) In the event that a Qualified IPO has not been consummated by Smart King or any
  other listing vehicle, as the case may be, on or prior to the sixth (6th) anniversary ofthe Effective
  Date, then at the written request to the Company (the "Redemption Request") by the holders of
  a majority of the then outstanding Common Units (the "Common Units Majority"), the
  Company shall redeem all but not less than all of the Common Units held by such holder(s).
  "Qualified IYO"shall mean the closing ofthe initial public offering of Smart King or other• listing
  vehicle, as applicable, with apost-money tnarlcet valuation (based on the price per share offered
  to the public in the offering) of at least US$1.5 billion on the New York Stock Exchange,Nasdaq
  Global Market System, Hong Kong Stock Exchange or any other exchange or quotation system
  that is approved by the Board of Directors of Smart King.

               (i)      The total redemption price for the Common Units redeemed pursuant to this
 Section 9(h) shall be equal to (i) the amount of the total purchase price that has been paid by such
 holder as ofthe date ofthe redemption and (ii) eight percent(8%)compounded interest per annum
 thereupon until the date of such redemption (the "Redemption Price").

                (ii)   The closing ofthe redemption ofthe Common Units pursuant to this Section
     (the "Redemption Closing") will take place within one hundred and twenty(120)days ofthe
  date of the Redemption Request at the offices of the company, or such earlier date or other place
  as the Common Units Majority and the Company may mutually agree in writing. At the
  Redemption Closing, subject to applicable laws, the Company shall, from any source of assets or

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 funds legally available therefor, redeem each Common Unit by paying in cash therefor the
 Redemption Price against surrender by such holder at the Company's principal office of the
 certi~ic~te ~•epresenting such Common Unit. From and after the Redemption Closing, if the
 Company makes the Redemption Price available to a holder of a Common Unit, all rights of the
 holder of such Common Unit(except the right to receive the Redemption Price therefor) will cease
 with respect to such Common Unit, and such Common Unit will not thereafter be Transferred on
 the books of the Company or be deemed outstanding for any purpose whatsoever.

        10.     Other Business. The Members may engage in or possess an interest in other
 business ventures (unconnected with the Company) of every kind and description, independently
 or with others. The Company shall not have any rights in or to such independent ventures or the
 income or profits therefrom by virtue of this Agreement.

         li.    Exculpation and Indeiniii~cation. The iVlembers shall not be subject to any
 fduciary or other duties to the maximum extent permitted by applicable law. No Member or
 Officer shall be liable to the Company, or any other Person or entity who has an interest in the
 Company, for any loss, damage or claim incurred by reason of any act or omission performed or
 omitted by such Member or Officer in good faith on behalf of the Company and in a manner
 reasonably believed to be within the scope of the authority conferred on such Member or Officer
 by this Agreement, except that a Member or Officer shall be liable for any such loss, damage or
 claim incurred by reason of such Member's or Officer's willful misconduct. To the fullest extent
 permitted by applicable law, a Member or Officer shall be entitled to indemnification from the
 Company for any loss, damage or claim incurred by such Member or Officer by reason of any act
 or omission performed or omitted by such Member or Officer in good faith on behalf of the
 Company and in a manner reasonably believed to be within the scope of the authority conferred
 on such Member or Officer by this Agreement, except that no Member or Officer shall be entitled
 to be indemnified in respect of any loss, damage or claim incurred by such Member or Officer by
 reason of willful misconduct with respect to such acts or omissions; provided, however, that any
 indemnity under this Section 11 shall be provided out of and to the extent of Company assets only,
 and no Member shall have personal liability on account thereof.

         12.     Term. The term of the Company shall be perpetual unless the Company is
  dissolved and terminated in accordance with Section 17.

         13.    Capital Accounts.

        (a) Ca~tal Accounts. A separate capital account (a "Capital Account") shall be
  maintained for each Member in accordance with Section 1.704-1(b)(2)(iv) of the U.S. Treasury
  Regulations promulgated under the Code(the "Treasury Regulations"), and this Section 13 shall
  be interpreted and applied in a manner consistent with said Section of the Treasury Regulations.
  The Company will maintain Capital Accounts for each Member in accordance with the following
  provisions:
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                (i)    the Company will credit to each Member's Capital Account (A) such
 Member's Capital Contributions,(B)such Member's distributive share ofNet Profit and any items
 in the nature of income or gain which are specially allocated to such Member pursuant to this
 Agreement, and(C)the amount of any Company liabilities assumed by such Member or to which
 any property distributed to such Member is subject;

               (ii)     the Company will debit from each Member's Capital Account (A) the
 amount of cash distributed to such Member pursuant to any provision of this Agreement,(B)the
 Gross Asset Value of any Company assets (other than cash) distributed to such Member pursuant
 to any provision of this Agreement,(C) such Member's distributive share of Net Loss at~d any
 items in the nature of expenses or losses which are specially allocated to such Member pursuant
 to this Agreement,and(D)the amount of any liabilities of such Member considered, under Section
 752 of the Code, to be assumed by the Company or to which any property contributed by such
 Member to the Company is subject;

                 (iii) in the event any interest is Transferred in accordance with the terms of this
 Agreement, the Transferee shall succeed to the Capital Account of the Transferor to the extent it
 relates to the Transferred interest;

               (iv) in determining the amount of any liability for purposes of subparagraphs (i)
 and (ii) above, there shall be taken into account Code Section 752(c) and any other applicable
 provisions of the Code and Treasury Regulations; and

               (v)      the foregoing provisions and the other provisions ofthis Agreementrelating
 to the maintenance of Capital Accounts are intended to comply with Treasury Regulations Sections
 1.704-1(b) and 1.704-2 and shall be interpreted and applied in a manner consistent with such
 Treasury Regulations; and in the event that the Managing Member shall determine it is prudent to
 modify the manner in which the Capital Accounts, or any additions thereto or subtractions
 therefrom, are computed in order to comply with such Treasury Regulations, the Managing
 Member may make such modification,provided that it is not likely to have a material effect on the
 amounts distributable to any Member pursuant to Section 17 hereof upon the dissolution of the
  Company.

         14.    Assignments.

         (a) A Member may not Transfer in whole or in part such Member's membership
  interests in the Company to any Person without the prior written consent of the Managing
  Member; provided, however, that, without the consent of the Managing Member, the non-
  M:anaging Member may Transfer its Units to any Person at any tune in accordance with the terms
  and subject to the conditions set forth in that certain Restructuring Agreeme~it, made as of
  December 31, 2018, by and among Season Smart Limited, FF Top Holding Ltd., FF Peak
  Holding Ltd., Yueting Jia, the Company, Smart King and other parties thereto.




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         (b) Notwithstanding anything to the contrary herein, any otherwise permitted Transfer
  shall be null end void if such Transfer would cause the Company to become a "publicly traded
  partnership" within the meaning of Code Section 7704(b)or fail to satisfy the "private placement"
  safe harbor from treatment as a "publicly traded partnership" (as described in Treasury
  Regulations Section 1.7704-1(h)).

         (c) Notwithstanding the terms of this Agreement, the Members are aware that FF Top
  Holdings Ltd., a British Virgin Islands company and a Subsidiary of the Company ("FF Top"},
  holds 600 million Class B preferred shares in Smart King Ltd., a Cayman Islands company and
  also a Subsidiary of the Company ("Smart King"), and that FF Top proposes to Transfer
  147,058,823 ordinary shares of Smart King to YT's creditor trust or a third Person designated by
  YT (the "Proposed Sitiart King Transfer"), and hereby approve and authorize the Proposed
  Smart King Transfer and the transactions contemplated thereby. For the avoidance ofdoubt, there
  is no need for the Members to approve the Proposed Smart King Transfer and any actions by the
  Members with respect to, in relation to and/or for the purpose of the Proposed Srnar•t King
  Transfer are hereby authorized, approved and ratified.

         15.   Fiscal Year. The fiscal year shall be the twelve (12)-month period ending on
  December 31 of each applicable calendar year("Fiscal Year•"), or such other period as determined
  by the Managing Member.

         16.     Partnership Status; Distributions; Allocations.

          (a) Partnership Status for Tax Purposes. The Members intend that the Company shall
   be treated as a partnership for U.S. federal and, if applicable, state income tax purposes, and the
   Company and each Member shall file all tax returns and shall otherwise take all tax and financial
   reporting positions in a manner consistent with such treatment. Neither the Company nor any
   Member shall make any election or take any other action inconsistent with such intent.

        (b) Distributions. All distributions of cash or other assets of the Company (a
  "Distribution") shall be made solely to the Members when and as determined by the Managing
  Member, subject to the Act and in accordance to the following:

                (i)      First, so long as at the time of a proposed Distribution, the holders of the
  Common Units shall not have received an aggregate Distribution (in cash or in kind)equal to their
  Capital Contribution, 100°/a of the Distributions shall be made to such holders of the Common
  Units in proportion to their respective Capital Contribution plus an interest of 8%per annum.

                (ii)    Second, holders of the Preferred Units shall receive all Distributions until
  the aggregate amount distributed to such holders shall equal to $1.02 billion plus an interest of8%
  per annum.

                 (iii) Third, holders of the Preferred Units shall receive 10% of the remaining
  Distributions (after the Distributions in paragraphs (i) and (ii) above).


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                (iv)     Thereafter, Distributions shall be made to all Members in proportion to
 their respective Percentage Interests.

                 (c) Tax Distributions. Notwithstanding any other provision of this Agreement
  to the contrary, to the extent that the Company has distributable cash, the Company may, in the
  sole discretion of the Managing Member, make pro rata Distributions to each Member at least
  equal to such Member's Cumulative Tax Liability less the cumulative amount of Distributions
  received by such IVlember under Section 16(b)(each a "Tax Distribution"). Such Tax
  Distributions, to the extent paid, shall be made on a quarterly basis or at such earlier times as the
  Managing Member deems appropriate and shall be treated as advances of, or offsets to, future
  Distributions under this Agreement(as determined by the Managing Member). The term
  "Cumulative Tax Liability" means the product of(i)the cumulative excess oftaxable income
  over taxable losses or tax credits (to the extent usable against such income) ofthe Company
  allocated to a Member pursuant to this Agreement and (ii) the highest combined marginal
  federal, state and local tax rates (including any tax on "net investment income") applicable at
  the time of the relevant allocation to any Member,for an individual or corporation resident in
  New York City, New York (taking into account any tax imposed on "net investment income" as
  well as the deductibility of state and local income taxes for U.S. federal income tax purposes).
  Any and all Tax Distributions under this Section 16(c) shall be treated as advances of
  Distributions and shall be taken into account in determining the amount of Distributions to the
   Members under Section 16(b) and Section 17.

        (d) Distributions in Kind. Subject to any requirements set forth in Section 16(b), the
  Managing Member is hereby authorized, in its sole discretion, to make Distributions to the
  Members in the form of securities or other property held by the Company; provided, however,
  that Tax Distributions will only be made in cash. In any non-cash Distribution, the securities or
  property so distributed will be distributed among the Members in the same proportion and priority
  as cash equal to the fair market value of such securities oi• property would be distributed among
  the Members pursuant to Section 16(b). Any Distribution of securities will be subject to such
  conditions and restrictions as the Managing Member determines are required or advisable to
  ensure compliance with the Act. In furtherance of the foregoing, the Managing Member may
  require that the Members execute and deliver such documents as the Managing Member may
  deem necessary or appropriate to ensure compliance with all federal and state securities laws that
  apply to such Distribution and any further Transfer of the distributed securities, and may
  appropriately legend the certificates that represent such securities to reflect any restriction. on
  Transfer with respect to such laws.

          (e) Allocation of Net Income and Net Loss. General Allocation of Net Profit and Net
   Loss. After giving effect to the special allocations set forth in Section 16(fl, Net Profit or Net
   Loss, as the case may be, for any Fiscal Year or other period for which such allocation is made
   shall be allocated among the Members in a manner such so as to ensure, to the extent possible,
   that the Capital Accounts of the Members as of the end of such period conform, in the
   reasonable judgment of the Managing Member, with the economics of this Agreement in


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  accordance with Section 16(b) and Section 17. The allocations made pursuant to this Section
  16 e are intended to comply with the provisions of Section 704(b) of the Code and the Treasury
  Regulations thereunder and, in particular, to reflect the Economic Interests in the Company of
  the Members as set forth in this Agreement, and this Section 16(e) shall be interpreted in a
  manner consistent with such intention.

         (~     Special Allocations. The Managing Member shall make special allocations under
  this Section 16(f~ in accordance with the provisions of the Treasury Regulations under Section
  704 of the Code, minimum gain chargeback, including Member minimum gain chargeback,
  qualified income offset and gross income allocation as they deem necessary in order to cause the
  allocations under this Section 16(fl to comply with the provisions of Section 704 of the Code and
  the Treasury Regulations thereunder.

         (g) Other Allocation Rules. For purposes of determining the Net Profit, Net Loss or
  any other items applicable to any period, Net Profit, Net Loss and any other such items shall be
  detei-~nined o~i a daily, monthly or other basis, as determined by the Managing Member in its
  reasonable discretion using any permissible method under Section 706 ofthe Code and the
  Treasury Regulations promulgated thereunder.

              (ii)      Except as otherwise provided in this Agreement, all items of Company
 income, gain, loss, deduction and any other allocations not otherwise provided for shall be
 allocated among the Members in the same proportions as they share Net Profit or Net Loss, as the
 case may be, for the Fiscal Year or other period for which such allocation is made.

                 (iii) In accordance with Section 704(c)ofthe Code atld the Treasury Regulations
 promulgated thereunder, income, gain, loss and deduction with respect to any property contributed
 to the capital. of the Company shall, solely for• tax purposes, be allocated to the Members so as to
 take account of the variation between the adjusted basis of such property to the Company for
 federal income tax purposes and its initial value on the date of contribution to the Company as
 determined by the Managing Member in its reasonable discretion. Allocations of income, gain,
 loss and deduction with respect to any such assets shall take into account atly variation between
 the adjusted basis of such asset for federal income tax purposes and its value in the same manner
 as under Section 704(c) of the Code and the Treasury Regulations promulgated thereunder. Any
 elections or other decisions relating to such allocations shall be made by the Managing Member in
 any manner that reasonably reflects the purpose and intention of this Agreement. Allocations
 pursuant to this paragraph (c) are solely for federal, state and local taxes and shall not affect, or in
 any way be taken into account in computing any Member's Capital Account or share ofNet Profit,
 Net Loss or other items or Distributions pursuant to any provision of this Agreement.

                 (iv) All elections, decisions and other matters concerning the allocation of
  profits, gains and losses among the Members, and accounting procedures, not specifically and
  expressly provided for by the terms of this Agreement, shall be determined by the Managing
  Member in its reasonable discretion.



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          (h) Tax Allocations. Notwithstanding afiy provision of this Agreement, each item of
  income, gain, loss, deduction or credit as determined for U.S. federal income tax purposes shall
  be allocated in the same manner as the related items are allocated under Section 16(e),provided
  that the Managing Member may adjust such allocations as may be necessary or desirable to
  ensure that such allocations are in accordance with the interests of the Members in the
  Company, or otherwise comply with the applicable provisions of the Code and Treasury
  Regulations (including, for the avoidance of doubt, Section 704(c) ofthe Code and the
  regulations promulgated thereunder). All matters concerning allocations for U.S. federal, state
  and local income tax purposes (including accounting procedures) not expressly provided for by
  the terms of this Agreement shall be determined in good faith by the Managing Member in a
  manner intended to satisfy the requirements of the Code, Treasury Regulations and applicable
  provisions of the U.S. federal, state or local tax laws. Allocations pursuant to this Section 16(h)
  are solely for purposes of federal, state and local taxes and will not affect, or in any way be
  taken into account in computing, any Member's Capital Account or share of Net Profit, Net
  Losses, Distributions or other items pursuant to any provisions of this Agreement.

         (i)    Allocations in Respect of Transferred Units. In the event of a Transfer during any
  Fiscal Year made in compliance with the provisions of Section 14 of this Agreement, Net Profit,
  Net Losses and other items of income, gain, loss and deduction of the Company attributable to
  such Units for such Fiscal Year will be determined, except as reasonably determined by the
  Managing Member, using the interim closing of the books method in accordance with
  applicable Treasury Regulations.

         17.     Dissolution; Liquidation.

         (a) The Company shall dissolve, and its affairs shall be wound up upon the first to
  occur of the following: (i) the written consent of each Member,(ii) the occurrence of any other
  event that terminates the continued membership of the last remaining Member in the Company
  unless the business of the Company is continued in a manner permitted by the Act, or (iii) the
  entry of a decree ofjudicial dissolution under Section 18-802 of the Act.

         (b) Upon dissolution of the Company, the Company shall immediately commence to
   wind up its affairs and the Managing Member shall promptly liquidate the business of the
   Company. During the period of the winding up of the affairs of the Company, the rights and
   obligations ofthe Members under this Agreement shall continue.

          (c) In the event of dissolution, the Company shall conduct only such activities as are
   necessary to wind up its affairs (including the sale of the assets of the Company in an orderly
   manner), and Distribution of the assets of the Company shall be applied as follows: (i) first, to
   creditors, to the extent otherwise permitted by law, in satisfaction of liabilities of the Company
  (whether by payment or the making of reasonable provision for payment thereof; and (ii)
   thereafter, to the Members in accordance with Section 16(b) hereof




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          (d) Following the completion of the winding up of the activities of the Company, the
  Managing Member shall file a certificate of cancellation in accordance with the Act. Upon filing
  ofthe certificate of cancellation, the existence ofthe Company shall cease, except for the purpose
  of suits, other Proceedings and appropriate action as provided in the Act. The Managing Member
  shall have the authority to distribute any Company property discovered after dissolution and take
  such other• action as may be necessary on behalf of and in the name ofthe Company.

          (e) Proceeds from a Sale Event, or a sale or Liquidation of all or substantially all of the
  assets of the Company, after• payment of, or adequate provision for, the debts and obligations of
  the Company, including the expenses of its liquidation and dissolution, the payment of any
  liabilities to its officers or Members, if any, other than liabilities to Members for Distributions
  shall be distributed promptly after the consummation of any such event and applied in the
  following priorities:

                 (i)      First, to fund reserves to the extent deemed appropriate by the Managing
 Member for contingent, conditional, unmatured or other liabilities of the Company not otherwise
 paid or provided for; pNovided that, upon the expiration of such period of time as the Managing
 Member shall deem advisable, the balance of such reserves remaining after payment of such
 liabilities shall be distributed in the manner hereinafter set forth; and

               (ii)     Thereafter, to the Members in accordance with Section 16(b).

         18.    Miscellaneous.

         (a) Amendments. This Agreement may be amended only by the consent of each
  Member and only in writing pursuant to a document specifically designating it as an amendment
  to this Agreement.

         (6) Governing Law. This Agreement is governed by and shall be construed in
  accordance with the law of the State of Delaware, exclusive of its conflict of laws principles. In
  the event any one or more of the provisions of this Agreement shall for any reason be held to be
  invalid, illegal or unenforceable, the remaining provisions ofthis Agreement shall be unimpaired,
  and the invalid, illegal or unenforceable provision shall be replaced by a mutually acceptable
  provision, which being valid, legal and enforceable, comes closest to the economic effect and
  intent of the parties underlying the invalid, illegal or unenforceable provision.

         (c) Headings. Section and other headings contained in this Agreement are for reference
  purposes only and are not intended to describe, interpret, dune or limit the scope,extent or intent
  of this Agreement or any provisions hereof.

         (d) Severability. In the event that any provision of this Agreement shall be declared to
  be invalid, illegal or unenforceable, such provision shall survive to the extent it is not so declared,
  and the validity, legality and enforceability ofthe other provisions hereof shall not in any way be



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  affected or impaired thereby, unless such action would substantially impair the benefits to any
  party of the remaining provisions of this Agreement.

        (e) Creditors. None of the provisions of this Agreement shall be for the benefit of or
  enforced by any creditor of the Company or the Members.

        (~     Survival of Indemnity. All rights to indemnification permitted in this Agreement
  atld payment of associated expenses shall not be affected by the termination, dissolution or
  bankruptcy of the Company or the withdrawal, insolvency or bankruptcy of any Member.

         (g) Third Pai~v Beneficiaries. Nothing in this Agreement, express or implied, is
  intended to or shall confer upon any Person (other than the parties hereto and the parties entitled
  to indemnification pursuant to Section 11) any right, benefit or remedy of any nature whatsoever
  under or by reason of this Agreement.

         (h) Entire Agreement. This Agreement,together with the Certificate of Formation, and
  all related Annexes, Exhibits and Schedules, constitutes the sole and entire agreement of the
  Parties with respect to the subject matter contained herein and therein, and supersedes all prior
  and contemporaneous understandings, agreements, representations and warranties, both written
  and oral, with respect to such subject matter. To the extent there is any conflict or inconsistency
  between the terms of this Agreement and any other agreements entered or to be entered into by
  and between any Member and the Company, this Agreement shall prevail.

        (i)     Definitions. For purposes of this Agreement:

                (i)       "Affiliate" means, with respect to any Person, any other Person that,
 directly or indirectly, Controls or is Controlled by or is under common Control with, such Person.

                 (ii)    "Capital Contribution" means with respect to any Member, the total
 amount of cash and the initial Gross Asset Value of property (other than cash) contributed or
 deemed contributed to the capital ofthe Company made by or on behalf ofsuch Member, whether
 as an initial Capital Contribution or as an additional Capital Contribution.

               (iii)    "Code" means the Internal Revenue Code of 1986, as amended

                (iv) "Control" (including the terms "Controlling," "Controlled by" and
 "u►ider Common Control «~ith") means, with respect to any Person, the possession, directly or
 indirectly, of the power to direct the policies and management of such Person, whether through
 ownership of voting securities, by contract or otherwise.

                 (v)     "Depreciation" means, for each Taxable Year, an amount equal to the
 depreciation, amortization or other cost recovery deduction allowable for U.S. federal income tax
 purposes with respect to an asset for such pef•iod, except that if the Gross Asset Value of an asset
 differs from its adjusted basis for U.S. federal income tax purposes at the beginning of such period,
 Depreciation will be an amount which bears the same ratio to such beginning Gross Asset Value

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 as the U.S. federal income tax depreciation, amortization or other cost recovery deduction for such
 period bears to such beginning adjusted tax basis; provided, howeveN, that if the adjusted basis for
 U.S. federal income tax purposes of an asset at the beginning of such period is zero, Depreciation
 will be determined with reference to such beginning Gross Asset Value using any reasonable
 method selected by the Managing Member.

                (vi) "Economic Literest" means a Member's share of the Company's Net
 Profits, Net Losses and Distributions pursuant to this Agreement and the Act, but shall not include
 any right to participate in the management or affairs of the Company, including the right to vote
 on, consent to or otherwise participate in any decision of the Members, or any right to receive
 information concerning the business and affairs of the Company.

               (vii)   "Exchange Act" means the Securities Exchange Act of 1934, as amended.

               (viii) "Gross Asset Value" means, with respect to any asset, the asset's adjusted
 basis for U.S. federal income tax purposes, except as follows:

                             (A) The initial Gross Asset Value of any asset contributed or
 deemed contributed by a Member to the Company will be the fair market value of such asset as
 reasonably determined by the Managing Member at the time it is accepted by the Company,
 unreduced by any liability secured by such asset, as reasonably determined by the Managing
 Member.

                                 (B) The Gross Asset Values of all Company assets will be
 adjusted to equal their respective fair market values, unreduced by any liabilities secured by such
 assets, as reasonably determined by the Managing Member as of the following times, if the
 Managing Member reasonably determines that such adjustment is necessary or appropriate to
 reflect the relative membership interests of the Members in the Company: (i) the acquisition of
 additional membership interests by any new or existing Member in exchange for more than a de
 minimis Capital Contribution; (ii) the Distribution by the Company to a Member of more than a
 de minimis amount of cash or property as consideration for membership interests; (iii) the
 liquidation or dissolution of the Company within the meaning of Treasury Regulations Section
 1.704-1(b)(2)(ii)(g); (iv) the grant of a membership interest in the Company (other than a de
 minimis interest), including without limitation a grant of membership interests intended to be
 "profits interests" for U.S. federal income tax purposes, as consideration for the provision of
 services to or for the benefit of the Company by an existing Member acting in a member capacity,
 or by a new Member acting in a Member capacity or in anticipation of becoming a Member of the
 Company;(v)the acquisition of an interest in the Company by any new or existing Member upon
 the exercise of a noncompensatory option or warrant in accordance with Treasury Regulation
 Section 1.704-1(b)(2)(iv)(s); and (vi) at such other times as the Managing Member shall
 reasonably determine necessary or advisable in order to comply with Treasury Regulations
 Sections 1.704-1(b) and 1.704-2. If any noncompensatory options or warrants are outstanding
 upon the occun•ence of an event described in paragraph (B)(1) through (B)(vi) of this definition,
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 the Company shall adjust the Gross Asset Values of its properties in accordance with Treasury
 Regulation Sections 1.704-1(b)(2)(iv)(~(1) and 1.704-1(b)(2)(iv)(h)(2).

                               (C) The Gross Asset Value of any asset of the Company
 distributed to any Member will be adjusted to equal the fair market value of such asset, unreduced
 by any liability secured by such asset, on the date of Distribution as reasonably determined by the
 Managing Member.

                               (D) The Gross Asset Values of the Company's assets will be
 increased (or decreased) to reflect any adjust~net~ts to the adjusted basis of such assets pursuant to
 Sections 734(b) or 743(b) of the Code but only to the extent that such adjustments are taken into
 account in determining Capital Accounts pursuant to Treasury .Regulations Section 1.704-
 1(b)(2)(iv)(m); provided, however, that Gross Asset Values shall not be adjusted pursuant to this
 subparagraph(D)to the extent that an adjustment pursuant to subparagraph (B)above is made in
 connection with a transaction that would otherwise result in an adjustment pursuant to this
 subpa~•agraph (U).

                             (E)     If the Gross Asset Value of an asset has been determined or
 adjusted pursuant to paragraph (A),(B) or (D) of this definition, such Gross Asset Value will
 thereafter be adjusted by the Depreciation taken into account with respect to such asset for
 purposes of computing Net Profit and Net Loss.

               (ix) "Net Prot" or "Net Loss" means, mean, for each Fiscal Year or other
 period specified in this Agreement, an amount equal to the Company's taxable income or loss for
 such period, determined in accordance with Section 703(a) of the Code, with the adjustments
 provided in the regulations thereunder and the regulations under Section 704 of the Code;
 provided, however, that items which are specially allocated pursuant to Section 16(e) hereof shall
 not be taken into account in computing Net Profit or Net Loss.

              (x)     "Percentage Interest" means, with respect to each Member, such
  Member's percentage of the Company's membership interests as set forth on Exhibit A hereto (as
  the same may be amended from time to time).

                 (xi) "Person" means an individual, a corporation, a partnership, a joint venture,
  a trust, an unincorporated organization, a limited liability company,a government and any agency
  or political subdivision thereof.

                (xii) "Proceeding" means any claim, suit, action, proceeding, arbitration,
  administrative notice, administrative action or investigation.

                  (xiii) "Sale Event" means any of the following: (i) the acquisition, directly or
  indirectly, by any "Person" or "group"(as such terms are used in Section 13(d)(3) of the Exchange
  Act)(other than one or more of the Members or any of their Affiliates), in a single transaction or
  in a related series oftransactions, of beneficial ownership(within the meaning ofRule 13d-3 under


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 the Exchange Act) of more than 50% of the total voting power or the voting securities of the
 Company, whether as a result of the issuance of securities, any merger, consolidation,
 recapitalization, tender offer or exchange offer, reclassification, liquidation or dissolution or
 otherwise or (ii) the sale, transfer or disposition (including by way of license, lease or otherwise)
 of all or substantially all of the assets of the Company (on a consolidated basis) to any Person or
 group (other than the Company or its wholly-owned Subsidiaries or its wholly-owned
 Subsidiaries).

                 (xiv} "Subsidiary" means, with respect to any Person, any entity of which (i)
 30% ofthe total voting power of shares ofstock or equivalent ownership interests entitled (without
 regard to the occurrence of any contingency)to vote in the election of directors, managers,trustees
 or other members of the applicable governing body thereof is at the time owned or controlled,
 directly or indirectly, by that Person or one or more of the other Subsidiaries of that Person or a
 combination thereof, or (ii) if no such governing body exists at such entity, a majority of the total
 voting power of shares of stock or equivalent ownership interests of the entity is at the time owned
 or controlled, directly or indirectly, by that Person or one or more Subsidiaries of that Person or a
 combination thereof.. For purposes hereof, a Person or Persons shall be deemed to have a majority
 ownership interest in a limited liability company, partnership, association or other business entity
 if such Person or Persons shall be allocated a majority of limited liability company, partnership,
 association or other business entity gains or losses or shall be or Control the managing member or
 general partner ofsuch limited liability company, partnership, association or other business entity.

              (xv) "Taxable Year" means the taxable year ofthe Company determined under
 Section 706 of the Code.

               (xvi) "Ti-aiisfer" means, with respect to a Member, to sell, assign, pledge,
 encumber, transfer or otherwise dispose of, whether directly or indirectly, voluntarily or
 involuntarily or by operation of law, all or a portion of its, his or her membership interest in the
 Company. The terms "Transfers", "Transferred" and "Transferring" shall have correlative
 meanings.

                 (xvii) "Unit" means a unit representing a fractional part of the membership
 interests of the Members and will include all types and classes of units, including Preferred Units
 and Common Units; provided, however, that any type or class of Unit will have the privileges,
 preference, duties, liabilities, obligations and rights set forth in this Agreement and the
 membership interests represented by such type or class or series of Unit will be determined in
 accordance with such privileges, preference, duties, liabilities, obligations and rights.

              (Remainder ofpage intentionally left blank. Signature gagesfollow.)




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          IN WITh7ESS WHER~~F,the undersigned have ~i~.tly executed this Agreemene effective
  as of the above stated date.

                                    IYIAI~'r~GII~G MEMBER:

                                    FF GLOBAL PAItTNEIiS LLC



                                    By:
                                    Name: ~ at Yang
                                    7~itle: Secretary


                                    ivQ~t-iVIAI~AGING 1VIEiVIB~R:

                                    LIAN BOSSERT




                                    Lian $ossert
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            IN WII'NESS WH~RCQF,the ~indersigned have duly executed tf~is Abree~nent effective
    as of the above stated date.

                                      tVI~1.hTAGTi~G iVI~I~IBER:

                                      FF GLOBAL PARTNERS LLC



                                      By:
                                      Name: Nan Yang
                                      Title: Secretary


                                      NOI~,~_MANAGING MEiVIB~R:

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                                            Exhibit A

                       Address of               Units    Percentage  Capital Contribution
  Name of Member       Member                             Interest
  FF Global Partners   FF Global Partners    362,352,941    80%     $16,464,147.31
  LLC                  LLC N,Rolling          Common
                       Hills estate             Units
                       CA 90274

  Lian Bossert         850 Wilcox Ave         90,588,235    20%      $444,738,412,
                       Apt 201, Los            Preferred             represented by one
                       Angeles CA 90038          Units               ordinary share of FF
                                                                     Peak Holding Ltd., a
                                                                     business company
                                                                     incorporated under the
                                                                     laws of the British Virgin
                                                                     Islands("FF Peak"),
                                                                     which represents all of
                                                                     the issued and
                                                                     outstanding equity
                                                                     interests in FF Peak
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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): DECLARATION OF YUETING JIA IN SUPPORT OF
 DEBTOR’S OPPOSITION TO MOTION TO DISMISS DEBTOR’S CHAPTER 11 CASE BY CREDITOR SHANGHAI LAN
 CAI ASSET MANAGEMENT CO., LTD. will be served or was served (a) on the judge in chambers in the form and manner
 required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 March 3, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date)                           , I served the following persons and/or entities at the last known addresses in this
 bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
 States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
 mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 3, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


  VIA PERSONAL DELIVERY
  United States Bankruptcy Court
  Central District of California
  Attn: Hon. Vincent Zurzolo
  Edward R. Roybal Federal Bldg./Courthouse
  255 East Temple Street, Suite 1360
  Los Angeles, CA 90012
                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 3, 2020                Sophia L. Lee                                                   /s/ Sophia L. Lee
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
        Ben H Logan blogan@omm.com
        David W. Meadows david@davidwmeadowslaw.com
        John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Christopher E Prince cprince@lesnickprince.com,
         jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Emily Young pacerteam@gardencitygroup.com,
         rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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